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Attorneys for Plaintiffs BTG International Ltd.,
Janssen Biotech, Inc., Janssen Oncology, Inc., and
Janssen Research & Development, LLC.

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                                     )
 BTG INTERNATIONAL LIMITED, JANSSEN                  )
 BIOTECH, INC., JANSSEN ONCOLOGY, INC.,              )
 JANSSEN RESEARCH & DEVELOPMENT, LLC,                )
                                                     )
              Plaintiffs,                            )
                                                     )
              v.                                     )   Civil Action No.:
                                                     )   2:15-cv-05909-KM-JBC
 ACTAVIS LABORATORIES FL, INC., AMNEAL               )
 PHARMACEUTICALS LLC, AMNEAL                         )
 PHARMACEUTICALS OF NEW YORK, LLC,                   )
 APOTEX CORP., APOTEX INC., CITRON PHARMA            )
 LLC, DR. REDDY’S LABORATORIES, INC., DR.            )
 REDDY’S LABORATORIES, LTD., MYLAN                   )
 PHARMACEUTICALS INC., MYLAN, INC., PAR              )
 PHARMACEUTICAL, INC., PAR                           )
 PHARMACEUTICAL COMPANIES, INC., SUN                 )
 PHARMACEUTICALS INDUSTRIES, LTD., SUN               )
 PHARMACEUTICALS INDUSTRIES, INC., TEVA              )
 PHARMACEUTICALS USA, INC., WEST-WARD                )
 PHARMACEUTICAL CORP., HIKMA                         )
 PHARMACEUTICALS, LLC, WOCKHARDT BIO                 )
 AG, WOCKHARDT USA LLC, WOCKHARDT LTD.,              )
 HETERO USA INC., HETERO LABS LIMITED                )
 UNIT-V, and HETERO LABS LIMITED,                    )
                                                     )
              Defendants.                            )
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             FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT1

         Plaintiffs BTG International Limited (“BTG”), Janssen Biotech, Inc. (“Janssen Biotech”),

Janssen Oncology, Inc. (“Janssen Oncology”), and Janssen Research & Development, LLC

(“Janssen R&D”),2 hereby amend their Complaint against Defendants Actavis Laboratories FL,

Inc. (“Actavis Labs. FL”), Actavis Pharma, Inc. (“Actavis Pharma”), Actavis, Inc., 3 Amneal

Pharmaceuticals LLC (“Amneal Pharms. LLC”), Amneal Pharmaceuticals of New York, LLC

(“Amneal Pharms. NY),4 Apotex Corp., Apotex Inc.,5 Citron Pharma LLC (“Citron Pharma”),

Dr. Reddy’s Laboratories, Inc. (“DRL Inc.”), Dr. Reddy’s Laboratories, Ltd. (“DRL Ltd.”), 6

Mylan Pharmaceuticals Inc. (“Mylan Pharms.”), and Mylan, Inc.,7 Par Pharmaceutical, Inc. (“Par




1
 Defendants, through their respective counsel, consented to the filing of this Amended
Complaint, as follows: Apotex Corp. and Apotex Inc., by email dated September 21, 2015; Teva
Pharmaceuticals USA, Inc., by email dated September 22, 2015; Actavis Laboratories FL, Inc.,
Actavis Pharma, Inc., Actavis, Inc., Amneal Pharmaceuticals LLC, Amneal Pharmaceuticals of
New York, LLC, Dr. Reddy’s Laboratories, Inc., Dr. Reddy’s Laboratories, Ltd., Sun
Pharmaceuticals Industries, Ltd., Sun Pahramceuticals Industries, Inc., Westward Pharmaceutical
Corp., The Arab Pharmaceutical Manufacturing Co., Hikma Pharmaceuticals, PLC, and Hikma
Pharmaceuticals, LLC, by email dated September 24, 2015; and Wockhardt Bio AG, Wockhardt
USA LLC, and Wockhardt Ltd., by email dated September 25, 2015. See Fed. R. Civ. P.
15(a)(2).
2
 Janssen Biotech, Janssen Oncology, and Janssen R & D hereinafter are collectively referred to
as “Janssen.” BTG and Janssen hereinafter are referred to collectively as “Plaintiffs.”
3
 Actavis Labs. FL, Actavis Pharma, and Actavis, Inc. hereinafter are collectively referred to as
“Actavis.” Pursuant to the September 24, 2015 Stipulation and Order Regarding Jurisdiction and
Dismissing Defendants Actavis, Inc. and Actavis Pharma, Inc., Without Prejudice (D.I. No. 46),
which applies and remains in effect, Actavis, Inc. and Actavis Pharma, Inc. were removed as
named defendants in this action.
4
 Amneal Pharms. LLC and Amneal Pharms. NY hereinafter are collectively referred to as
“Amneal.”
5
    Apotex Corp. and Apotex Inc. are hereinafter collectively referred to as “Apotex.”
6
    DRL Inc. and DRL Ltd. are hereinafter collectively referred to as “DRL.”
7
    Mylan Pharms. and Mylan Inc. hereinafter are collectively referred to as “Mylan.”


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Pharm. Inc.”), Par Pharmaceutical Companies, Inc. (“Par Pharm. Cos. Inc.”),8 Sun

Pharmaceuticals Industries, Ltd. (“Sun Ltd.”), Sun Pharmaceuticals Industries, Inc. (“Sun Inc.”), 9

Teva Pharmaceuticals USA, Inc. (“Teva Pharms. USA”), Teva Pharmaceuticals Industries, Ltd.

(“Teva Pharms. Indus. Ltd.”),10 West-Ward Pharmaceutical Corp. (“West-Ward Pharm.”), The

Arab Pharmaceuticals Manufacturing Co. (“Arab Pharm. Manuf. Co.”), Hikma Pharmaceuticals,

PLC (“Hikma Pharms. PLC”), Hikma Pharmaceuticals, LLC (“Hikma Pharms. LLC”),11

Wockhardt Bio AG (“Wockhardt Bio”), Wockhardt USA LLC (“Wockhardt USA”), Wockhardt

Ltd.,12 Hetero USA Inc. (“Hetero USA”), Hetero Labs Limited Unit-V (“Hetero Unit-V”), and

Hetero Labs Limited (“Hetero Ltd.”),13 to the best of their knowledge, information and belief,

hereby allege as follows:

                                    NATURE OF THE ACTION

          1.     This is a civil action for patent infringement arising under the patent laws of the

United States, Title 35, United States Code, in response to the submission of Abbreviated New



8
    Par Pharm. Inc. and Par Pharm. Cos. Inc. hereinafter are collectively referred to as “Par.”
9
    Sun Ltd. and Sun Inc. hereinafter are collectively referred to as “Sun.”
10
  Teva Pharms. USA and Teva Ltd. hereinafter are collectively referred to as “Teva.” Pursuant
to the September 3, 2015 Stipulation and Order Consenting to Jurisdiction and Dismissing
Defendant Teva Pharmaceutical Industries Ltd., Without Prejudice (D.I. No. 41), which applies
and remains in effect, Teva Ltd. was removed as a named defendant in this action.
11
 West-Ward Pharm., Arab Pharm. Manuf. Co., Hikma Pharms. PLC, and Hikma Pharms. LLC
hereinafter are collectively referred to as “Hikma/West-Ward.” Pursuant to the September 15,
2015 Stipulation and Order Consenting to Jurisdiction and Dismissing Defendants The Arab
Pharmaceutical Manufacturing Co. and Hikma Pharmaceuticals, PLC, Without Prejudice (D.I.
No. 44), which applies and remains in effect, Arab Pharm. Manuf. Co. and Hikma Pharms. PLC
were removed as named defendants in this action.
12
  Wockhardt Bio, Wockhardt USA, and Wockhardt Ltd. hereinafter are collectively referred to
as “Wockhardt.”
13
  Hetero USA, Hetero Unit-V, and Hetero Ltd. hereinafter are collectively referred to as
“Hetero.”


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Drug Applications (“ANDAs”) by Defendants Actavis, Amneal, Apotex, Citron Pharma, DRL,

Mylan, Par, Sun, Teva, Hikma/West-Ward, and Wockhardt to the United States Food and Drug

Administration (the “FDA”) seeking approval to market a generic version of Janssen’s

ZYTIGA® (abiraterone acetate) Tablets (“ZYTIGA® (abiraterone acetate)”) drug product prior

to the expiration of United States Patent No. 5,604,213 (“the ’213 patent”), and United States

Patent No. 8,822,438 (“the ’438 patent”).


                                        THE PARTIES

         2.    Plaintiff BTG is a company organized and existing under the laws of the United

Kingdom, with its principal place of business at 5 Fleet Place, London, EC4M 7RD United

Kingdom.

         3.    Plaintiff Janssen Biotech is a corporation organized and existing under the laws of

Pennsylvania, with its principal place of business at 800/850 Ridgeview Drive, Horsham, PA

19044.

         4.    Plaintiff Janssen Oncology is a corporation organized and existing under the laws

of Delaware, with its principal place of business at 10990 Wilshire Blvd., Los Angeles, CA

90024.

         5.    Plaintiff Janssen R&D is a limited liability company organized and existing under

the laws of New Jersey, with its principal place of business at 920 Route 202 South, Raritan, NJ

08869.

         6.    Upon information and belief, Defendant Actavis Labs. FL is a corporation

organized and existing under the laws of Florida, having a principal places of business at Morris

Corporate Center III, 400 Interpace Parkway, Parsippany, NJ 07054 and 4955 Orange Drive,

Davie, FL 33314.



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       7.       Upon information and belief, Defendant Actavis Pharma is a corporation

organized and existing under the laws of Delaware, having a principal place of business at

Morris Corporate Center III, 400 Interpace Parkway, Parsippany, NJ 07054. Upon information

and belief, Actavis Pharma is registered with the State of New Jersey’s Division of Revenue and

Enterprise Services as a business operating in New Jersey under Business ID No. 0100573928,

and has appointed The Corporation Trust Company, 820 Bear Tavern Road, West Trenton, NJ

08628, as its registered agent for service of process in New Jersey.

       8.       Upon information and belief, Defendant Actavis, Inc. is a corporation organized

and existing under the laws of Nevada, having a principal place of business at Morris Corporate

Center III, 400 Interpace Parkway, Parsippany, NJ 07054.

       9.       Upon information and belief, Actavis Labs. FL is a wholly-owned subsidiary of

Actavis, Inc.

       10.      Upon information and belief, Actavis Pharma. is a wholly-owned subsidiary of

Actavis, Inc.

       11.      Upon information and belief, Defendant Amneal Pharms. LLC is a limited

liability company organized and existing under the laws of Delaware, having a principal place of

business at 400 Crossing Boulevard, Bridgewater, NJ 08807. Upon information and belief,

Amneal Pharms. LLC is registered with the State of New Jersey’s Division of Revenue and

Enterprise Services as a business operating in New Jersey under Business ID No. 0600211542,

and has appointed The Corporation Trust Company, 820 Bear Tavern Road, West Trenton, NJ,

08628, as its registered agent for service of process in New Jersey. Upon information and belief,

Amneal Pharms. LLC is registered with the State of New Jersey’s Department of Health as a

drug Manufacturer and Wholesaler, under Registration No. 5002991.




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       12.     Upon information and belief, Defendant Amneal Pharms. NY is a limited liability

company organized and existing under the laws of Delaware, having a principal place of

business at 85 Adams Avenue, Hauppauge, NY 11788. Upon information and belief, Amneal

Pharms. NY is registered with the State of New Jersey’s Department of Health as a drug

Manufacturer, under Registration No. 5003663.

       13.     Upon information and belief, Amneal Pharms. NY is a wholly-owned subsidiary

of Amneal Pharms. LLC.

       14.     Upon information and belief, Defendant Apotex Corp. is a corporation organized

and existing under the laws of Delaware, having a principal place of business at 2400 North

Commerce Parkway, Suite 400, Weston, FL 33326. Upon information and belief, Apotex Corp.

is registered with the State of New Jersey as a drug Wholesaler, under Registration No. 5003192.

       15.     Upon information and belief, Defendant Apotex Inc. is a corporation organized

and existing under the laws of Canada, having a principal place of business at 150 Signet Drive,

North York, Ontario M9L 1T9, Canada.

       16.     Upon information and belief, Apotex Corp. is a wholly-owned subsidiary of

Apotex Inc.

       17.     Upon information and belief, Apotex Corp. is the authorized U.S. agent for

Apotex Inc.

       18.     Upon information and belief, Defendant Citron Pharma is a corporation organized

and existing under the laws of New Jersey, having principal places of business at 2 Tower Center

Boulevard, Suite 1101, East Brunswick, NJ 08816 and at 11 Maacka Dr., Holmdel, NJ 07733.

Upon information and belief, Citron Pharma is registered with the State of New Jersey’s

Division of Revenue and Enterprise Services as a business operating in New Jersey under




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Business ID No. 0400540334, and has appointed Vimal Kavuru, 11 Maacka Dr., Holmdel, NJ,

07733, as its registered agent for service of process in New Jersey. Upon information and belief,

Citron Pharma is registered with the State of New Jersey’s Department of Health as a drug

Wholesaler, under Registration No. 5004558.

       19.     Upon information and belief, Defendant DRL Inc. is a corporation organized and

existing under the laws of New Jersey, having a principal place of business at 107 College Road

East, Princeton, NJ 08540. Upon information and belief, DRL Inc. is registered with the State of

New Jersey’s Division of Revenue and Enterprise Services as a business operating in New Jersey

under Business Id. No. 0100518911, and has appointed Umang Vohra, 107 College Road East,

Princeton, NJ 08540, as its registered agent for service of process in New Jersey. Upon

information and belief, DRL Inc. is registered with the State of New Jersey’s Department of

Health as a drug Manufacturer and Wholesaler, under Registration No. 5002312.

       20.     Upon information and belief, Defendant DRL Ltd. is a public limited liability

company organized and existing under the laws of India, a principal place of business at 8-2-337,

Road No. 3, Banjara Hills, Hyderabad, Telangana, India 500 034.

       21.     Upon information and belief, DRL Inc. is a wholly-owned subsidiary of DRL Ltd.

       22.     Upon information and belief, DRL Inc. is the authorized U.S. agent for DRL Ltd.

       23.     Upon information and belief, Defendant Mylan Pharms. is a corporation

organized and existing under the laws of West Virginia, having a principal place of business at

871 Chestnut Ridge, Morgantown, West Virginia 26505. Upon information and belief, Mylan

Pharms. is registered with the State of New Jersey’s Division of Revenue and Enterprise

Services as a business operating in New Jersey under Business ID No. 010021477, and has

appointed The Corporation Service Company, 830 Bear Tavern Road, West Trenton, NJ, 08628,




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as its registered agent for service of process in New Jersey. Upon information and belief, Mylan

Pharms. is registered with the State of New Jersey’s Department of Health as a drug

Manufacturer and Wholesaler, under Registration No. 50037662.

       24.     Upon information and belief, Defendant Mylan, Inc. is a corporation organized

and existing under the laws of Pennsylvania, having a principal place of business at 1000 Mylan

Boulevard, Robert J. Coury Global Center, Canonsburg, PA, 15317. Upon information and

belief, Mylan Inc. is registered with the State of New Jersey’s Division of Revenue and

Enterprise Services as a business operating in New Jersey under Business ID No. 0100971292,

and has appointed The Corporation Service Company, 830 Bear Tavern Road, West Trenton, NJ,

08628, as its registered agent for service of process in New Jersey.

       25.     Upon information and belief, Mylan Pharms. is a wholly-owned subsidiary of

Mylan Inc.

       26.     Upon information and belief, Defendant Par Pharm. Inc. is a corporation

organized and existing under the laws of Delaware, having principal places of business at One

Ram Ridge Road, Chestnut Ridge, NY, 10977 and at 300 Tice Boulevard, Woodcliff Lake, New

Jersey 07677 (Corporate Headquarters) and Morris Corporate Center 2, One Upper Pond Road,

Building D, Parsippany, NJ 07054 (Sales & Administration). Upon information and belief, Par

Pharm. Inc. is registered with the State of New Jersey’s Division of Revenue and Enterprise

Services as a business operating in New Jersey under Business I.D. No. 0100071541, and has

appointed Thomas Haughey, 300 Tice Boulevard, Woodcliff Lakes, NJ 07677, as its registered

agent to accept service of process. Upon information and belief, Par Pharm. Inc. is registered

with the State of New Jersey’s Department of Health as a drug Manufacturer and Wholesaler,

under Registration No. 5004032.




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       27.     Upon information and belief, Defendant Par Pharm. Cos. Inc. is a corporation

organized and existing under the laws of Delaware, having principal places of business at One

Ram Ridge Road, Chestnut Ridge, NY, 10977 and at 300 Tice Boulevard, Woodcliff Lake, New

Jersey 07677 (Corporate Headquarters) and Morris Corporate Center 2, One Upper Pond Road,

Building D, Parsippany, NJ 07054 (Sales & Administration). Upon information and belief, Par

Pharm. Cos. Inc. is registered with the State of New Jersey’s Division of Revenue and Enterprise

Services as a business operating in New Jersey under Business I.D. No. 0100946477, and has

appointed Thomas Haughey, 300 Tice Boulevard, Woodcliff Lakes, NJ 07677, as its registered

agent to accept service of process.

       28.     Upon information and belief, Par Pharm. Inc. is a wholly-owned subsidiary of Par

Pharm. Cos. Inc.

       29.     Upon information and belief, Defendant Sun Inc. is a corporation organized and

existing under the laws of Michigan, having a principal place of business at 279 Prospect Plains

Rd., Cranbury, NJ 08512. Upon information and belief, Sun Inc. is registered with the State of

New Jersey’s Division of Revenue and Enterprise Services as a business operating in New Jersey

under Business ID No. 0100970132, and has appointed The Corporation Trust Company, 820

Bear Tavern Road, West Trenton, NJ, 08628, as its registered agent for service of process in

New Jersey. Upon information and belief, Sun Inc. is registered with the State of New Jersey’s

Department of Health as a drug Manufacturer and Wholesaler, under Registration No. 5003437.

       30.     Upon information and belief, Defendant Sun Ltd. is a company organized and

existing under the laws of India, having a principal place of business at Acme Plaza, Andheri-

Kurla Road, Andheri (East), Mumbai, Maharashtra 400059 India.

       31.     Upon information and belief, Sun Inc. is a wholly-owned subsidiary of Sun Ltd.




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        32.     Upon information and belief, Sun Inc. is the authorized U.S. agent for Sun Ltd.

        33.     Upon information and belief, Defendant Teva Pharms. USA is a corporation

 organized and existing under the laws of Delaware, having a principal place of business at 1090

 Horsham Road, North Wales, PA 19454. Upon information and belief, Teva Pharms. USA is

 registered with the State of New Jersey’s Division of Revenue and Enterprise Services as a

 business operating in New Jersey under Business ID No. 0100250184, and has appointed

 Corporate Creations Network Inc., 811 Church Road Suite 105, Cherry Hill, NJ, 08002, as its

 registered agent for service of process in New Jersey. Upon information and belief, Teva

 Pharms. USA is registered with the State of New Jersey’s Department of Health as a drug

 Manufacturer and Wholesaler, under Registration No. 5000583 and as a drug Wholesaler, under

 Registration No. 5003436.

        34.     Upon information and belief, Defendant Teva Pharms. Indus. Ltd. is a company

 organized and existing under the laws of Israel, having a principal place of business at 5 Basel

 Street, Petach Tikva 49131 Israel.

        35.     Upon information and belief, Teva Pharms. USA is a wholly-owned subsidiary of

 Teva Pharms. Indus. Ltd.

        36.     Upon information and belief, Defendant West-Ward Pharm. is a corporation

 organized and existing under the laws of Delaware, having a principal place of business at 401

 Industrial Way West, Eatontown, NJ 07724. Upon information and belief, West-Ward Pharm. is

 registered with the State of New Jersey’s Division of Revenue and Enterprise Services as a

 business operating in New Jersey under Business ID No. 0100487525, and has appointed The

 Corporation Trust Company, 820 Bear Tavern Road, West Trenton, NJ, 08628, as its registered

 agent for service of process in New Jersey. Upon information and belief, West-Ward Pharm. is




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 registered with the State of New Jersey’s Department of Health as a drug Manufacturer and

 Wholesaler, under Registration No. 5002130.

        37.     Upon information and belief, West-Ward Pharm. is the authorized U.S. agent for

 Hikma Pharmaceuticals.

        38.     Upon information and belief, Defendant Arab Pharm. Manuf. Co. is a corporation

 organized and existing under the laws of Jordan with a principal place of business at Al-Salt P.O.

 Box 1695, Amman, Jordan.

        39.     Upon information and belief, Defendant Hikma Pharms. LLC is a company

 organized and existing under the laws of Jordan, having a principal place of business in Bayader

 Wadi Seer, P.O. Box 182400, Amman 1118, Jordan.

        40.     Upon information and belief, Defendant Hikma Pharms. PLC is a company

 organized and existing under the laws of the United Kingdom, having a principal place of

 business at 13 Hanover Square, London W1S 1HL United Kingdom.

        41.     Upon information and belief, West-Ward Pharm. is a wholly-owned subsidiary of

 Hikma Pharms. PLC.

        42.     Upon information and belief, Arab Pharm. Manuf. Co. is a wholly-owned

 subsidiary of Hikma Pharms. PLC.

        43.     Upon information and belief, Hikma Pharms. LLC is a wholly-owned subsidiary

 of Hikma Pharms. PLC.

        44.     Upon information and belief, Defendant Wockhardt Bio is a company organized

 and existing under the laws of Switzerland, having a principal place of business at Grafenauweg

 6, 6300 Zug, Switzerland.




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        45.     Upon information and belief, Defendant Wockhardt USA is a limited liability

 company organized and existing under the laws of Delaware, having a principal place of

 business at 20 Waterview Boulevard, Parsippany, NJ 07054. Upon information and belief,

 Wockhardt USA is registered with the State of New Jersey’s Division of Revenue and Enterprise

 Services as a business operating in New Jersey under Business ID No. 0400253104, and has

 appointed The Corporation Service Company, 830 Bear Tavern Road, West Trenton, NJ, 08628,

 as its registered agent for service of process in New Jersey. Upon information and belief,

 Wockhardt USA is registered with the State of New Jersey’s Department of Health as a drug

 Wholesaler, under Registration No. 5003430.

        46.     Upon information and belief, Defendant Wockhardt Ltd. is a company organized

 and existing under the laws of India, having a principal place of business at Bandra-Kurla

 Complex, Bandra East, Mumbai 400 051, Maharashtra, India.

        47.     Upon information and belief, Wockhardt USA is a wholly-owned subsidiary of

 Wockhardt Bio.

        48.     Upon information and belief, Wockhardt USA is the authorized U.S. agent for

 Wockhardt Bio.

        49.     Upon information and belief, Wockhardt Bio is a wholly-owned subsidiary of

 Wockhardt Ltd.

        50.     Upon information and belief, Defendant Hetero USA is a corporation organized

 and existing under the laws of Delaware, having its principal place of business at 1035

 Centennial Avenue, Piscataway, NJ 08854. Upon information and belief, Hetero USA is

 registered with the State of New Jersey’s Division of Revenue and Enterprise Services as a

 business operating in New Jersey under Business ID No. 0400362826, and has appointed Mr.




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 Seshu Srinivas Akula, 40 Rouserway, Hillsborough, NJ 08844, as its registered agent for service

 of process in New Jersey. Upon information and belief, Hetero USA is registered with the State

 of New Jersey’s Department of Health as a drug Wholesaler, under Registration No. 5004050.

        51.     Upon information and belief, Defendant Hetero Unit-V is a company organized

 and existing under the laws of India, having a principal place of business at Polepally Village,

 Jadcherla Mandal, Mahbubnagar, Andhra Pradesh, India.

        52.     Upon information and belief, Defendant Hetero Ltd. is a company organized and

 existing under the laws of India, having a principal place of business at 7-2-A2, Hetero

 Corporate, Industrial Estates, Sanath Nagar, Hyberabad, Telangana, India.

        53.     Upon information and belief, Hetero USA is the authorized U.S. agent for Hetero

 Unit-V.

        54.     Upon information and belief, Hetero Unit-V is a division of Hetero Ltd.

        55.     Upon information and belief, Hetero USA is a subsidiary of Hetero Ltd.


                                     THE PATENTS-IN-SUIT

        56.     The ’213 patent, entitled “17-Substituted Steroids Useful in Cancer Treatment,”

 was duly and legally issued by the United States Patent and Trademark Office (“USPTO”) on

 February 18, 1997, naming as inventors Susan E. Barrie, Michael Jarman, Gerard A. Potter, and

 Ian R. Hardcastle. A copy of the ‘213 patent is attached hereto as Exhibit A.

        57.     Plaintiff BTG lawfully owns all right, title and interest in the ’213 patent,

 including the right to sue and to recover for past infringement.

        58.     Plaintiffs Janssen is the exclusive licensee of the ‘213 patent, holding an exclusive

 license to make, have made, use, lease, sell and otherwise dispose of products falling within the

 scope of the ’213 patent, with a right to enforce the ’213 patent.



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        59.     The ’438 patent, entitled “Methods and Compositions for Treating Cancer,” was

 duly issued by the USPTO on September 2, 2014, naming as inventors Alan H. Auerbach and

 Arie S. Belldegrun. A copy of the ‘438 patent is attached hereto as Exhibit B.

        60.     Plaintiff Janssen Oncology lawfully owns all right, title and interest in the ’438

 patent, including the right to sue and to recover for past infringement.


              JANSSEN’S ZYTIGA® (ABIRATERONE ACETATE) TABLETS

        61.     Janssen sells ZYTIGA® (abiraterone acetate) in the United States pursuant to a

 New Drug Application (“NDA”) No. 202379 that has been approved by the FDA. Janssen

 Biotech is the holder of NDA No. 202379. Janssen R&D works in collaboration with Janssen

 Biotech with respect to NDA No. 202379.

        62.     ZYTIGA® (abiraterone acetate) is indicated in combination with prednisone for

 the treatment of patients with metastatic castration-resistant prostate cancer.

        63.     The FDA issues a publication entitled “Approved Drug Products with Therapeutic

 Equivalence Evaluations” (the “Orange Book”).

        64.     In accordance with 21 U.S.C. § 355(b)(1), the ’213 patent is listed in the Orange

 Book in connection with NDA No. 202379 as a patent “with respect to which a claim of patent

 infringement could reasonably be asserted if a person not licensed by the owner engaged in the

 manufacture, use, or sale of the drug” ZYTIGA® (abiraterone acetate).

        65.     In accordance with 21 U.S.C. § 355(b)(1), the ’438 patent is listed in the Orange

 Book in connection with NDA No. 202379 as a patent “with respect to which a claim of patent

 infringement could reasonably be asserted if a person not licensed by the owner engaged in the

 manufacture, use, or sale of the drug” ZYTIGA® (abiraterone acetate).




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                                ACTAVIS’S ANDA SUBMISSION

           66.   By letter dated June 22, 2015 (the “Actavis Notice Letter”), Actavis Labs. FL

 notified Plaintiffs that it had submitted to the FDA ANDA No. 208274 (“Actavis ANDA”) for

 Actavis’s Abiraterone Acetate Tablets, a drug product that is a generic version of ZYTIGA®

 (abiraterone acetate) (“Actavis’s ANDA Product”).

           67.   Upon information and belief, the purpose of Actavis’s ANDA was to obtain

 approval under the Federal Food, Drug, and Cosmetic Act (“FDCA”) to engage in the

 commercial manufacture, use, and/or sale of Actavis’s ANDA Product prior to the expiration of

 the ’213 and ’438 patents.

           68.   In the Actavis Notice Letter, Actavis Labs. FL notified Plaintiffs that, as part of

 its ANDA, Actavis had filed certifications of the type described in Section 505(j)(2)(A)(vii)(IV)

 of the FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘213 and ‘438 patents. Upon

 information and belief, Actavis submitted ANDA No. 208274 to the FDA containing a

 certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the ’213 and ’438

 patents are invalid, unenforceable, and/or will not be infringed by the commercial manufacture,

 use, offer for sale, or sale of Actavis’s ANDA Product.

           69.   The use of Actavis’s ANDA Product is covered by one or more claims of the ’213

 patent.

           70.   Actavis had knowledge of the ’213 patent when it submitted the Actavis ANDA.

           71.   The use of Actavis’s ANDA Product is covered by one or more claims of the ’438

 patent.

           72.   Actavis had knowledge of the ’438 patent when it submitted the Actavis ANDA.




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         73.    This action is being commenced before the expiration of forty-five days from the

 date Plaintiffs received the Actavis Notice letter, which Plaintiffs received on or about June 23,

 2015.


                                AMNEAL’S ANDA SUBMISSION

         74.    By letter dated July 10, 2015 (the “Amneal Notice Letter”), Amneal Pharms. LLC

 notified Janssen that it had submitted to the FDA ANDA No. 208327 (“Amneal ANDA”) for

 Amneal’s Abiraterone Acetate Tablets, a drug product that is a generic version of ZYTIGA®

 (abiraterone acetate) (“Amneal’s ANDA Product”).

         75.    Upon information and belief, Amneal Pharms. NY submitted ANDA No. 208327,

 alone, together with, and/or on behalf of Amneal Pharms. LLC.

         76.    Upon information and belief, the purpose of Amneal’s ANDA was to obtain

 approval under the FDCA to engage in the commercial manufacture, use, and/or sale of

 Amneal’s ANDA Product prior to the expiration of the ’438 patent.

         77.    In the Amneal Notice Letter, Amneal Pharms LLC notified Janssen that, as part of

 its ANDA, Amneal had filed certifications of the type described in Section 505(j)(2)(A)(vii)(IV)

 of the FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘438 patent. Upon

 information and belief, Amneal submitted ANDA No. 208327 to the FDA containing a

 certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the ’438 patent is

 invalid, unenforceable, and/or will not be infringed by the commercial manufacture, use, offer

 for sale, or sale of Amneal’s ANDA Product.

         78.    The use of Amneal’s ANDA Product is covered by one or more claims of the

 ’438 patent.

         79.    Amneal had knowledge of the ’438 patent when it submitted the Amneal ANDA.



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           80.   This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Amneal Notice letter, which Janssen received on or about July 13,

 2015.


                                APOTEX’S ANDA SUBMISSION

           81.   By letter dated July 7, 2015 (the “Apotex Notice Letter”), Apotex Inc. and Apotex

 Corp. notified Janssen that Apotex had submitted to the FDA ANDA No. 208453 (“Apotex

 ANDA”) for Apotex’s Abiraterone Acetate Tablets, a drug product that is a generic version of

 ZYTIGA® (abiraterone acetate) (“Apotex’s ANDA Product”).

           82.   Upon information and belief, the purpose of Apotex’s ANDA was to obtain

 approval under the FDCA to engage in the commercial manufacture, use, and/or sale of Apotex’s

 ANDA Product prior to the expiration of the ’438 patent.

           83.   In the Apotex Notice Letter, Apotex notified Janssen that, as part of its ANDA,

 Apotex had filed certifications of the type described in Section 505(j)(2)(A)(vii)(IV) of the

 FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘438 patent. Upon information and

 belief, Apotex submitted ANDA No. 208453 to the FDA containing a certification pursuant to 21

 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the ’438 patent is invalid, unenforceable, and/or will

 not be infringed by the commercial manufacture, use, offer for sale, or sale of Apotex’s ANDA

 Product.

           84.   The use of Apotex’s ANDA Product is covered by one or more claims of the ’438

 patent.

           85.   Apotex had knowledge of the ’438 patent when it submitted the Apotex ANDA.

           86.   This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Apotex Notice letter, which Janssen received on or about July 8, 2015.



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                          CITRON PHARMA’S ANDA SUBMISSION

        87.     By letter dated June 25, 2015 (the “Citron Pharma Notice Letter”), Citron Pharma

 notified Janssen that it had submitted to the FDA ANDA No. 208371 (“Citron Pharma ANDA”)

 for Citron Pharma’s Abiraterone Acetate Tablets, a drug product that is a generic version of

 ZYTIGA® (abiraterone acetate) (“Citron Pharma’s ANDA Product”).

        88.     Upon information and belief, the purpose of Citron Pharma’s ANDA was to

 obtain approval under the FDCA to engage in the commercial manufacture, use, and/or sale of

 Citron Pharma’s ANDA Product prior to the expiration of the ’438 patent.

        89.     In the Citron Pharma Notice Letter, Citron Pharma notified Janssen that, as part of

 its ANDA, Citron Pharma had filed certifications of the type described in Section

 505(j)(2)(A)(vii)(IV) of the FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘438

 patent. Upon information and belief, Citron Pharma submitted ANDA No. 208371 to the FDA

 containing a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the ’438

 patent is invalid, unenforceable, and/or will not be infringed by the commercial manufacture,

 use, offer for sale, or sale of Citron Pharma’s ANDA Product.

        90.     The use of Citron Pharma’s ANDA Product is covered by one or more claims of

 the ’438 patent.

        91.     Citron Pharma had knowledge of the ’438 patent when it submitted the Citron

 ANDA.

        92.     This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Citron Pharma Notice letter, which Janssen received on or about June

 26, 2015.




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                                   DRL’S ANDA SUBMISSION

           93.   By letter dated July 9, 2015 (the “DRL Notice Letter”), DRL Inc. notified Janssen

 that DRL Ltd. and DRL Inc. had submitted to the FDA ANDA No. 208416 (“DRL ANDA”) for

 DRL’s Abiraterone Acetate Tablets, a drug product that is a generic version of ZYTIGA®

 (abiraterone acetate) (“DRL’s ANDA Product”).

           94.   Upon information and belief, the purpose of DRL’s ANDA was to obtain

 approval under the FDCA to engage in the commercial manufacture, use, and/or sale of DRL’s

 ANDA Product prior to the expiration of the ’438 patent.

           95.   In the DRL Letter, DRL Inc. notified Janssen that, as part of its ANDA, DRL had

 filed certifications of the type described in Section 505(j)(2)(A)(vii)(IV) of the FDCA, 21 U.S.C.

 § 355(j)(2)(A)(vii)(IV), with respect to the ‘438 patent. Upon information and belief, DRL

 submitted ANDA No. 208416 to the FDA containing a certification pursuant to 21 U.S.C. §

 355(j)(2)(A)(vii)(IV) asserting that the ’438 patent is invalid, unenforceable, and/or will not be

 infringed by the commercial manufacture, use, offer for sale, or sale of DRL’s ANDA Product.

           96.   The use of DRL’s ANDA Product is covered by one or more claims of the ’438

 patent.

           97.   DRL had knowledge of the ’438 patent when it submitted the DRL ANDA.

           98.   This action is being commenced before the expiration of forty-five days from the

 date Janssen received the DRL Notice letter, which Janssen received on or about July 11, 2015.


                                MYLAN’S ANDA SUBMISSION

           99.   By letter dated July 9, 2015 (the “Mylan Notice Letter”), Mylan Pharms. notified

 Janssen that it had submitted to the FDA ANDA No. 208446 (“Mylan ANDA”) for Mylan’s




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 Abiraterone Acetate Tablets, a drug product that is a generic version of ZYTIGA® (abiraterone

 acetate) (“Mylan’s ANDA Product”).

           100.   Upon information and belief, the purpose of Mylan’s ANDA was to obtain

 approval under the FDCA to engage in the commercial manufacture, use, and/or sale of Mylan’s

 ANDA Product prior to the expiration of the ’438 patent.

           101.   In the Mylan Notice Letter, Mylan Pharms. notified Janssen that, as part of its

 ANDA, Mylan had filed certifications of the type described in Section 505(j)(2)(A)(vii)(IV) of

 the FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘438 patent. Upon information

 and belief, Mylan submitted ANDA No. 208446 to the FDA containing a certification pursuant

 to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the ’438 patent is invalid, unenforceable,

 and/or will not be infringed by the commercial manufacture, use, offer for sale, or sale of

 Mylan’s ANDA Product.

           102.   The use of Mylan’s ANDA Product is covered by one or more claims of the ’438

 patent.

           103.   Mylan had knowledge of the ’438 patent when it submitted the Mylan ANDA.

           104.   This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Mylan Notice letter, which Janssen received on or about July 10, 2015.


                                    PAR’S ANDA SUBMISSION

           105.   By letter dated June 26, 2015 (the “Par Notice Letter”), Par Pharm. Inc. notified

 Janssen that it had submitted to the FDA ANDA No. 208168 (“Par ANDA”) for Par’s

 Abiraterone Acetate Tablets, a drug product that is a generic version of ZYTIGA® (abiraterone

 acetate) (“Par’s ANDA Product”).




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           106.   Upon information and belief, the purpose of Par’s ANDA was to obtain approval

 under the FDCA to engage in the commercial manufacture, use, and/or sale of Par’s ANDA

 Product prior to the expiration of the ’438 patent.

           107.   In the Par Notice Letter, Par Pharm. Inc. notified Janssen that, as part of its

 ANDA, Par had filed certifications of the type described in Section 505(j)(2)(A)(vii)(IV) of the

 FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘438 patent. Upon information and

 belief, Par submitted ANDA No. 208168 to the FDA containing a certification pursuant to 21

 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the ’438 patent is invalid, unenforceable, and/or will

 not be infringed by the commercial manufacture, use, offer for sale, or sale of Par’s ANDA

 Product.

           108.   The use of Par’s ANDA Product is covered by one or more claims of the ’438

 patent.

           109.   Par had knowledge of the ’438 patent when it submitted the Par ANDA.

           110.   This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Par Notice letter, which Janssen received on or about June 29, 2015.


                                     SUN’S ANDA SUBMISSION

           111.   By letter dated June 25, 2015 (the “Sun Notice Letter”), Sun Ltd. notified Janssen

 that it had submitted to the FDA ANDA No. 208440 (“Sun ANDA”) for Sun’s Abiraterone

 Acetate Tablets, a drug product that is a generic version of ZYTIGA® (abiraterone acetate)

 (“Sun’s ANDA Product”).

           112.   Upon information and belief, the purpose of Sun’s ANDA was to obtain approval

 under the FDCA to engage in the commercial manufacture, use, and/or sale of Sun’s ANDA

 Product prior to the expiration of the ’438 patent.



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           113.   In the Sun Notice Letter, Sun Ltd. notified Janssen that, as part of its ANDA, Sun

 had filed certifications of the type described in Section 505(j)(2)(A)(vii)(IV) of the FDCA, 21

 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘438 patent. Upon information and belief,

 Sun submitted ANDA No. 208440 to the FDA containing a certification pursuant to 21 U.S.C. §

 355(j)(2)(A)(vii)(IV) asserting that the ’438 patent is invalid, unenforceable, and/or will not be

 infringed by the commercial manufacture, use, offer for sale, or sale of Sun’s ANDA Product.

           114.   The use of Sun’s ANDA Product is covered by one or more claims of the ’438

 patent.

           115.   Sun had knowledge of the ’438 patent when it submitted the Sun ANDA.

           116.   This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Sun Notice letter, which Janssen received on or about June 26, 2015.


                                   TEVA’S ANDA SUBMISSION

           117.   By letter dated July 7, 2015 (the “Teva Notice Letter”), Teva Pharms. USA

 notified Janssen that it had submitted to the FDA ANDA No. 20843214 (“Teva ANDA”) for

 Teva’s Abiraterone Acetate Tablets, a drug product that is a generic version of ZYTIGA®

 (abiraterone acetate) (“Teva’s ANDA Product”).

           118.   Upon information and belief, the purpose of Teva’s ANDA was to obtain

 approval under the FDCA to engage in the commercial manufacture, use, and/or sale of Teva’s

 ANDA Product prior to the expiration of the ’438 patent.

           119.   In the Teva Notice Letter, Teva Pharms. USA notified Janssen that, as part of its

 ANDA, Teva had filed certifications of the type described in Section 505(j)(2)(A)(vii)(IV) of the



  By letter dated August 31, 2015, Teva informed Plaintiffs that the correct number of Teva’s
 14

 ANDA for generic abiraterone acetate products is 208432.


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 FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘438 patent. Upon information and

 belief, Teva submitted ANDA No. 208432 to the FDA containing a certification pursuant to 21

 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the ’438 patent is invalid, unenforceable, and/or will

 not be infringed by the commercial manufacture, use, offer for sale, or sale of Teva’s ANDA

 Product.

           120.   The use of Teva’s ANDA Product is covered by one or more claims of the ’438

 patent.

           121.   Teva had knowledge of the ’438 patent when it submitted the Teva ANDA.

           122.   This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Teva Notice letter, which Janssen received on or about July 8, 2015.


                         HIKMA/WEST-WARD’S ANDA SUBMISSION

           123.   By letter dated June 24, 2015 (the “Hikma/West-Ward Notice Letter”), West-

 Ward notified Janssen that, as U.S. agent for Hikma Pharmaceuticals, it had submitted to the

 FDA ANDA No. 208339 (“Hikma/West-Ward ANDA”) for Hikma/West-Ward’s Abiraterone

 Acetate Tablets, a drug product that is a generic version of ZYTIGA® (abiraterone acetate)

 (“Hikma/West-Ward’s ANDA Product”).

           124.   Upon information and belief, the purpose of Hikma/West-Ward’s ANDA was to

 obtain approval under the FDCA to engage in the commercial manufacture, use, and/or sale of

 Hikma/West-Ward’s ANDA Product prior to the expiration of the ’438 patent.

           125.   In the Hikma/West-Ward Notice Letter, West-Ward notified Janssen that, as part

 of its ANDA, Hikma/West-Ward had filed certifications of the type described in Section

 505(j)(2)(A)(vii)(IV) of the FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘438

 patent. Upon information and belief, Hikma/West-Ward submitted ANDA No. 208339 to the



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 FDA containing a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the

 ’438 patent is invalid, unenforceable, and/or will not be infringed by the commercial

 manufacture, use, offer for sale, or sale of Hikma/West-Ward’s ANDA Product.

        126.      The use of Hikma/West-Ward’s ANDA Product is covered by one or more claims

 of the ’438 patent.

        127.      Hikma/West-Ward had knowledge of the ’438 patent when it submitted the

 Hikma/West-Ward ANDA.

        128.      This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Hikma/West-Ward Notice letter, which Janssen received on or about

 June 25, 2015.


                             WOCKHARDT’S ANDA SUBMISSION

        129.      By letter dated June 24, 2015 (the “Wockhardt Notice Letter”), Wockhardt Bio

 notified Janssen that it had submitted to the FDA ANDA No. 208380 (“Wockhardt ANDA”) for

 Wockhardt’s Abiraterone Acetate Tablets, a drug product that is a generic version of ZYTIGA®

 (abiraterone acetate) (“Wockhardt’s ANDA Product”).

        130.      Upon information and belief, the purpose of Wockhardt’s ANDA was to obtain

 approval under the FDCA to engage in the commercial manufacture, use, and/or sale of

 Wockhardt’s ANDA Product prior to the expiration of the ’438 patent.

        131.      In the Wockhardt Notice Letter, Wockhardt Bio notified Janssen that, as part of

 its ANDA, Wockhardt had filed certifications of the type described in Section

 505(j)(2)(A)(vii)(IV) of the FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ‘438

 patent. Upon information and belief, Wockhardt submitted ANDA No. 208380 to the FDA

 containing a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the ’438



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 patent is invalid, unenforceable, and/or will not be infringed by the commercial manufacture,

 use, offer for sale, or sale of Wockhardt’s ANDA Product.

         132.   The use of Wockhardt’s ANDA Product is covered by one or more claims of the

 ’438 patent.

         133.   Wockhardt had knowledge of the ’438 patent when it submitted the Wockhardt

 ANDA.

         134.   This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Wockhardt Notice letter, which Janssen received on or about June 25,

 2015.


                                HETERO’S ANDA SUBMISSION

         135.   By letter dated August 28, 2015 (the “Hetero Notice Letter”), Hetero USA

 notified Janssen that Hetero had submitted to the FDA ANDA No. 208349 (“Hetero ANDA”) for

 Hetero’s Abiraterone Acetate Tablets, a drug product that is a generic version of ZYTIGA®

 (abiraterone acetate) (“Hetero’s ANDA Product”).

         136.   Upon information and belief, the purpose of Hetero’s ANDA was to obtain

 approval under the FDCA to engage in the commercial manufacture, use, and/or sale of Hetero’s

 ANDA Product prior to the expiration of the ’438 patent.

         137.   In the Hetero Notice Letter, Hetero USA notified Janssen that, as part of Hetero’s

 ANDA, Hetero had filed certifications of the type described in Section 505(j)(2)(A)(vii)(IV) of

 the FDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV), with respect to the ’438 patent. Upon information

 and belief, Hetero submitted ANDA No. 208349 to the FDA containing a certification pursuant

 to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) asserting that the ’438 patent is invalid, unenforceable,




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 and/or will not be infringed by the commercial manufacture, use, offer for sale, or sale of

 Hetero’s ANDA Product.

           138.   The use of Hetero’s ANDA Product is covered by one or more claims of the ’438

 patent.

           139.   Hetero had knowledge of the ’438 patent when it submitted the Hetero ANDA.

           140.   This action is being commenced before the expiration of forty-five days from the

 date Janssen received the Hetero Notice letter, which Janssen received on or about August 31,

 2015.


                       SUBJECT MATTER JURISDICTION AND VENUE

           141.   This action for patent infringement arises under 35 U.S.C. § 100 et seq. generally

 and 35 U.S.C. § 271(e)(2) specifically.

           142.   This Court has jurisdiction over the subject matter of this action pursuant to the

 provisions of 28 U.S.C. §§ 1331, 1338(a), 2201, and 2202.

           143.   Venue is proper in this judicial district pursuant to the provisions of 28 U.S.C. §§

 1391 and 1400(b).


                                    PERSONAL JURISDICTION

 Defendant Actavis

           144.   Upon information and belief, Actavis Labs. FL is in the business of formulating,

 manufacturing, marketing, and selling generic prescription pharmaceutical drugs that it

 distributes in New Jersey and throughout the United States.

           145.   This Court has personal jurisdiction over Actavis Labs. FL by virtue of the fact

 that, inter alia, Actavis Labs FL has committed a tortious act of patent infringement under 35

 U.S.C. § 271(e)(2), and intends a future course of conduct that includes acts of patent


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 infringement in New Jersey. These acts have led and will lead to foreseeable harm and injury to

 Plaintiffs, including to Plaintiff Janssen R&D, a New Jersey resident corporation, in New Jersey.

 For example, upon information and belief, Actavis Labs. FL is actively preparing to make the

 proposed generic copies of ZYTIGA® (abiraterone acetate) that are the subject of Actavis’s

 ANDA No. 208274, and to use, sell, and offer for sale such generic copies in this State and this

 judicial district.

         146.     Upon information and belief, Actavis Labs. FL has substantial, continuous and

 systematic contacts with New Jersey, including, inter alia, having a principal place of business in

 Parsippany, New Jersey.

         147.     Upon information and belief, Actavis Labs. FL has previously submitted to the

 jurisdiction of this Court and asserted counterclaims in this jurisdiction. See, e.g., Supernus

 Pharms., Inc. v. Actavis Inc., et al., No. 15-cv-02499; Orexo AB v. Actavis Labs. FL, Inc., No.

 3:15-cv-00826; Astrazeneca Ab et al. v. Actavis Labs. FL, Inc., et al., No. 3:14-cv-07870;

 Astrazeneca Ab et al. v. Actavis Labs. FL, Inc., et al., No. 3:14-cv-07263; Noven Therapeutics,

 LLC v. Actavis Labs. FL, Inc., et al., No. 2:14-cv-06414; and Vivus, Inc. v. Actavis Labs. FL,

 Inc., No. 2:14-cv-03786.

         148.     Upon information and belief, Actavis Pharma is an integrated pharmaceutical

 company engaged in the development, manufacturing, marketing, selling and distribution of

 generic prescription pharmaceutical drugs, including products made by Actavis Labs. FL, in

 New Jersey and throughout the United States.

         149.     Upon information and belief, Actavis Pharma has substantial, continuous and

 systematic contacts with New Jersey, including having a principal place of business in




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 Parsippany, New Jersey, and it has registered to do business in New Jersey and appointed a

 registered agent for service of process in New Jersey.

           150.   Upon information and belief, Actavis Pharma has previously submitted to the

 jurisdiction of this Court. See, e.g. AstraZeneca AB et al. v. Actavis Labs. FL, Inc., et al., No.

 3:14-cv-07263; Noven Therapeutics, LLC v. Actavis Labs. FL, Inc., et al., No. 2:14-cv-06414;

 Supernus Pharms., Inc. v. Actavis, Inc., et al., No. 14-cv-01981; and Cipher Pharms., Inc., et al.

 v. Watson Labs., Inc., et al., No. 1:13-cv-06502.

           151.   Upon information and belief, Actavis, Inc. is in the business of, inter alia, the

 development, manufacture, marketing, sale, and distribution of generic pharmaceutical products,

 in New Jersey and throughout the United States, through its various subsidiaries, including

 Actavis Labs. FL and Actavis Pharma.

           152.   Upon information and belief, Actavis Inc. has substantial, continuous and

 systematic contacts with New Jersey, including having a principal place of business in New

 Jersey.

           153.   Upon information and belief, Actavis Inc. has previously submitted to the

 jurisdiction of this Court and asserted counterclaims in this jurisdiction. See, e.g., Noven

 Therapeutics, LLC v. Actavis Labs. FL, Inc., et al., No. 2:14-cv-06414; Cipher Pharms., Inc., et

 al. v. Watson Labs., Inc., et al., No. 1:13-cv-06502; Abbott Labs., et al. v. Actavis Elizabeth LLC,

 et al., No. 2:10-cv-02352; and Warner Chilcott Labs. Ireland Ltd., et al. v. Actavis Elizabeth

 LLC, et al., No. 2:09-cv-00469.

           154.   Upon information and belief, Actavis Labs. FL, Actavis Pharma, and Actavis, Inc.

 hold themselves out as a single entity for the purposes of manufacturing, selling, marketing,




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 distribution, and importation of generic drug products in New Jersey and throughout the United

 States.

           155.   On information and belief, Actavis Labs. FL, Actavis Pharma, and Actavis, Inc.

 are agents of each other with respect to formulating, manufacturing, packaging, marketing and/or

 selling pharmaceutical products throughout the United States and will do the same with respect

 to Actavis’s ANDA Product for which they have sought approval from the FDA.

           156.   On information and belief, Actavis Labs. FL, Actavis Pharma, and Actavis, Inc.

 are acting in concert with each other with respect to formulating, manufacturing, packaging,

 marketing and/or selling pharmaceutical products throughout the United States and will do the

 same with respect to Actavis’s ANDA Product for which they have sought approval from the

 FDA.

           157.   Upon information and belief, Actavis Pharma and Actavis, Inc., together with

 their affiliate and/or agent, Actavis Labs. FL, filed the Actavis ANDA with the FDA that is at

 issue in this patent infringement suit.

           158.   Upon information and belief, Actavis Pharma and Actavis, Inc., alone and/or

 together with their affiliate and/or agent Actavis Labs. FL, have committed, or aided, abetted,

 actively induced, contributed to, or participated in the commission of an act of patent

 infringement under 35 U.S.C. § 271(e)(2) that has led and/or will lead to foreseeable harm and

 injury to Plaintiffs, including to Janssen R&D, which is a New Jersey company, in New Jersey.

           159.   This Court has personal jurisdiction over Actavis Labs. FL by virtue of, among

 other things, (1) its continuous and systematic contacts with New Jersey, including its principal

 place of business in Parsippany, NJ; (2) its tortious acts of patent infringement that will result in

 foreseeable harm in New Jersey; (3) its sale of a substantial volume of prescription drugs in New




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 Jersey; (4) its purposefully availing itself of the jurisdiction of this court in the past; and (5) its

 conduct by, through, and in concert with Actavis Pharma and Actavis, Inc.

         160.    This Court has personal jurisdiction over Actavis Pharma by virtue of, among

 other things, (1) ) its continuous and systematic contacts with New Jersey, including its principal

 place of business in Parsippany, NJ; (2) its consent to jurisdiction in New Jersey by its

 registration to do business in New Jersey and appointment of registered agent in New Jersey for

 the receipt of service of process; (3) its tortious acts of patent infringement that will result in

 foreseeable harm in New Jersey; (4) its sale of a substantial volume of prescription drugs in New

 Jersey; (5) its purposefully availing itself of the jurisdiction of this court in the past; and (6) its

 conduct by, through, and in concert with Actavis Labs. FL and Actavis, Inc.

         161.    This Court has personal jurisdiction over Actavis, Inc. by virtue of, among other

 things, (1) its continuous and systematic contacts with New Jersey, including its principal place

 of business in Parsippany, NJ; (2) its tortious acts of patent infringement that will result in

 foreseeable harm in New Jersey; (3) its sale of a substantial volume of prescription drugs in New

 Jersey; (4) its purposefully availing itself of the jurisdiction of this court in the past; and (5) its

 conduct by, through, and in concert with Actavis Labs. FL and Actavis Pharma.


 Defendant Amneal

         162.    Upon information and belief, Amneal Pharms. LLC is in the business of

 formulating, manufacturing, marketing, and selling generic prescription pharmaceutical drugs

 that it distributes in New Jersey and throughout the United States.

         163.    Amneal Pharms. LLC’s website states that its generic product pipeline is

 “[d]riven through five proprietary research and development facilities located in New York, New




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 Jersey and India . . . .”15 Amneal Pharms. LLC’s website identifies, inter alia, the following

 locations in the United States: (1) U.S. Corporate Headquarters in Bridgewater, NJ; (2) Oral

 Solids Manufacturing in Paterson, NJ; and (3) Oral Solids Manufacturing and R&D in

 Brookhaven, NY and Hauppauge, NY.16

           164.    This Court has personal jurisdiction over Amneal Pharms. LLC and/or Amneal

 Pharms. NY by virtue of the fact that, inter alia, Amneal Pharms. LLC and/or Amneal Pharms.

 NY has committed a tortious act of patent infringement under 35 U.S.C. § 271(e)(2), and intends

 a future course of conduct that includes acts of patent infringement in New Jersey. These acts

 have led and will lead to foreseeable harm and injury to Janssen, including to Plaintiff Janssen

 R&D, a New Jersey resident corporation, in New Jersey. For example, upon information and

 belief, Amneal Pharms. LLC is actively preparing to make the proposed generic copies of

 ZYTIGA® (abiraterone acetate) that are the subject of Amneal’s ANDA No. 208327, and to use,

 sell, and offer for sale such generic copies in this State and this judicial district.

           165.    Upon information and belief, Amneal Pharms. LLC has substantial, continuous

 and systematic contacts in New Jersey, including, inter alia, having a principal place of business

 in New Jersey, and it has registered to do business in New Jersey, appointed a registered agent

 for service of process in New Jersey, and registered as a manufacturer and wholesaler of drugs in

 New Jersey.

           166.    Upon information and belief, Amneal Pharms. LLC has previously submitted to

 the jurisdiction of this Court and has asserted counterclaims in this jurisdiction. See, e.g., Shire




 15
      See http://amneal.com/products/pipeline/ (last visited July 17, 2015).
 16
      See http://amneal.com/about/locations/ (last visited July 17, 2015).


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 Dev. LLC, et al. v. Amneal Pharms. LLC, et al., No. 1:15-cv-02865; Otsuka Pharm. Co., Ltd. v.

 Amneal Pharms. LLC, et al., No. 1:15-cv-01585.

           167.   Upon information and belief, Amneal Pharms. NY, either directly or through

 Amneal Pharms. LLC is in the business of formulating, manufacturing, marketing, and selling

 generic prescription pharmaceutical drugs that it distributes in New Jersey and throughout the

 United States.

           168.   Upon information and belief, Amneal Pharms. NY, either directly or through

 Amneal Pharms. LLC, has substantial, continuous and systematic contacts with New Jersey, and

 it has registered as a drug manufacturer in New Jersey.

           169.   Upon information and belief, Amneal Pharms. NY has previously submitted to

 the jurisdiction of this Court, and has asserted counterclaims in this jurisdiction. See, e.g., Shire

 Dev. LLC, et al. v. Amneal Pharms. LLC, et al., No. 1:15-cv-02865.

           170.   Upon information and belief, Amneal Pharms. LLC and Amneal Pharms. NY

 hold themselves out as a single entity for the purposes of manufacturing, selling, marketing,

 distribution, and importation of generic drug products in New Jersey and throughout the United

 States.

           171.   On information and belief, Amneal Pharms. LLC and Amneal Pharms. NY are

 agents of each other with respect to formulating, manufacturing, packaging, marketing and/or

 selling pharmaceutical products throughout the United States and will do the same with respect

 to Amneal’s ANDA Product for which they have sought approval from the FDA.

           172.   On information and belief, Amneal Pharms. LLC and Amneal Pharms. NY are

 acting in concert with each other with respect to formulating, manufacturing, packaging,

 marketing and/or selling pharmaceutical products throughout the United States and will do the




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 same with respect to Amneal’s ANDA Product for which they have sought approval from the

 FDA.

         173.    Upon information and belief, Amneal Pharms. LLC, together with its affiliate

 and/or agent, Amneal Pharms. NY, filed the Amneal ANDA with the FDA that is at issue in this

 patent infringement suit.

         174.    Upon information and belief, Amneal Pharms. LLC and Amneal Pharms. NY,

 alone and/or together have committed, or aided, abetted, actively induced, contributed to, or

 participated in the commission of an act of patent infringement under 35 U.S.C. § 271(e)(2) that

 has led and/or will lead to foreseeable harm and injury to Janssen, including Janssen R&D,

 which is a New Jersey company, in New Jersey.

         175.    This Court has personal jurisdiction over Amneal Pharms. LLC by virtue of,

 among other things, (1) its continuous and systematic contacts with New Jersey, including its

 principal place of business in Bridgewater, NJ and manufacturing facilities in Paterson, NJ; (2)

 its consent to jurisdiction in New Jersey by its registration to do business in New Jersey and

 appointment of registered agent in New Jersey for the receipt of service of process; (3) its

 registration with the State of New Jersey’s Department of Health as a drug manufacturer and

 wholesaler; (4) its tortious acts of patent infringement that will result in foreseeable harm in New

 Jersey; (5) its sale of a substantial volume of prescription drugs in New Jersey; (6) its

 purposefully availing itself of the jurisdiction of this court in the past; and (7) its conduct by,

 through, in concert with Amneal Pharms. NY.

         176.    This Court has personal jurisdiction over Amneal Pharms. NY by virtue of,

 among other things, (1) its continuous and systematic contacts with New Jersey; (2) its

 registration as a drug manufacturer in New Jersey; (3) its tortious acts of patent infringement that




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 will result in foreseeable harm in New Jersey; (4) its sale of a substantial volume of prescription

 drugs in New Jersey; (5) its purposefully availing itself of the jurisdiction of this court in the

 past; and (6) its conduct by, through and in concert with Amneal Pharms. LLC.


 Defendant Apotex

         177.    By email dated July 21, 2015, through their counsel, Apotex Corp. and Apotex

 Inc. stated that “Apotex will not contest jurisdiction in New Jersey for the purpose of an action

 under 21 U.S.C. 355(j)(50(B)(iii) relating to its [Paragraph IV] Notice related to ANDA No.

 208453.”

         178.    Upon information and belief, Apotex Corp. is in the business of formulating,

 manufacturing, marketing, and selling generic prescription pharmaceutical drugs that it

 distributes in New Jersey and throughout the United States.

         179.    Upon information and belief, Apotex Corp. is the authorized U.S. agent for

 Apotex Inc.

         180.    This Court has personal jurisdiction over Apotex Corp. and Apotex Inc. by virtue

 of the fact that, inter alia, they have committed a tortious act of patent infringement under 35

 U.S.C. § 271(e)(2), and intend a future course of conduct that includes acts of patent

 infringement in New Jersey. These acts have led and will lead to foreseeable harm and injury to

 Janssen, including to Plaintiff Janssen R&D, a New Jersey resident corporation, in New Jersey.

 For example, upon information and belief, Apotex Corp and Apotex Inc. are actively preparing

 to make the proposed generic copies of ZYTIGA® (abiraterone acetate) that are the subject of

 Apotex’s ANDA No. 208453, and to use, sell, and offer for sale such generic copies in this State

 and this judicial district.




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          181.   Upon information and belief, Apotex Corp. has substantial, continuous and

 systematic contacts with New Jersey, and has registered as a drug wholesaler in New Jersey.

          182.   Upon information and belief, Apotex Corp. has previously submitted to the

 jurisdiction of this Court and has asserted counterclaims in this jurisdiction. See, e.g., Bausch &

 Lomb Inc., et al. v. Apotex Inc. and Apotex Corp., No. 1:14-cv-01975; Hoffman-La Roche Inc. v.

 Apotex Inc. and Apotex Corp., No. 2:07-cv-04417.

          183.   Upon information and belief, Apotex Inc., directly or through Apotex Corp., is in

 the business of formulating, manufacturing, marketing, and selling generic prescription

 pharmaceutical drugs that it distributes in New Jersey and throughout the United States.

          184.   Upon information and belief, Apotex Inc. has substantial, continuous and

 systematic contacts with New Jersey, including, but not limited to, directing the operations and

 management of Apotex Corp.

          185.   Upon information and belief, Apotex Inc. has previously submitted to the

 jurisdiction of this court and has asserted counterclaims in this jurisdiction. See, e.g., Bausch &

 Lomb Inc., et al. v. Apotex Inc. and Apotex Corp., No. 1:14-cv-01975; Apotex Inc. v. Shire LLC,

 No. 2:08-cv-03598; and Hoffman-La Roche Inc. v. Apotex Inc. and Apotex Corp., No. 2:07-cv-

 04417.

          186.   Upon information and belief, Apotex Corp. and Apotex Inc. hold themselves out

 as a single entity for the purposes of manufacturing, selling, marketing, distribution, and

 importation of generic drug products in New Jersey and throughout the United States.

          187.   Upon information and belief, Apotex Corp. and Apotex Inc. are agents of each

 other with respect to formulating, manufacturing, packaging, marketing and/or selling




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 pharmaceutical products throughout the United States and will do the same with respect to

 Apotex’s ANDA Product for which they have sought approval from the FDA.

        188.    On information and belief, Apotex Corp. and Apotex Inc. are acting in concert

 with each other with respect to formulating, manufacturing, packaging, marketing and/or selling

 pharmaceutical products throughout the United States and will do the same with respect to

 Apotex’s ANDA Product for which they have sought approval from the FDA.

        189.    Upon information and belief, Apotex Inc., alone and/or together with its affiliate

 and agent, Apotex Corp., filed the Apotex ANDA with the FDA that is at issue in this patent

 infringement suit.

        190.    Upon information and belief, Apotex Corp., alone and/or together with its affiliate

 Apotex Inc. has committed, or aided, abetted, actively induced, contributed to, or participated in

 the commission of an act of patent infringement under 35 U.S.C. § 271(e)(2) that has led and/or

 will lead to foreseeable harm and injury to Janssen, including to Plaintiff Janssen R&D, which is

 a New Jersey company, in New Jersey.

        191.    This Court has personal jurisdiction over Apotex Corp. by virtue of, among other

 things, (1) its consent to jurisdiction by its express representation that “Apotex will not contest

 jurisdiction in New Jersey for the purposes of an action under 21 U.S.C. 355(j)(5)(B)(iii) relating

 to its P-IV notice related to ANDA No. 208453”; (2) its continuous and systematic contacts with

 New Jersey; (3) its registration as a drug wholesaler in New Jersey; (4) its acts of tortious patent

 infringement that will result in foreseeable harm in New Jersey; (5) its sale of a substantial

 volume of prescription drugs in New Jersey; (5) its purposefully availing itself of the jurisdiction

 of this court in the past; and (6) its conduct by, through, and in concert with Apotex Inc.




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           192.    This Court has personal jurisdiction over Apotex Inc. by virtue of, among other

 things, (1) its consent to jurisdiction by its express representation that “Apotex will not contest

 jurisdiction in New Jersey for the purposes of an action under 21 U.S.C. 355(j)(5)(B)(iii) relating

 to its P-IV notice related to ANDA No. 208453”; (2) its continuous and systematic contacts with

 New Jersey; (3) its sale of a substantial volume of prescription drugs in New Jersey; (4) its acts

 of tortious patent infringement that will result in foreseeable harm in New Jersey; (5) its

 purposefully availing itself of the jurisdiction of this court in the past; and (6) its conduct by,

 through, and in concert with Apotex Corp.

           193.    In the alternative, this Court has personal jurisdiction over Apotex Inc. because

 the requirements of Federal Rule of Civil Procedure 4(k)(2)(A) are met.


 Defendant Citron Pharma

           194.    Upon information and belief, Citron Pharma is in the business of developing and

 marketing pharmaceutical drugs that it distributes in New Jersey and throughout the United

 States.

           195.    Citron Pharma’s website further states that Citron Pharma has “FDA-approved

 manufacturing facilities in India and the USA” and that it is “headquartered at New Jersey.”17

           196.    This Court has personal jurisdiction over Citron Pharma by virtue of the fact that,

 inter alia, Citron Pharma has committed a tortious act of patent infringement under 35 U.S.C. §

 271(e)(2), and intends a future course of conduct that includes acts of patent infringement in

 New Jersey. These acts have led and will lead to foreseeable harm and injury to Janssen,

 including to Plaintiff Janssen R&D, a New Jersey resident corporation, in New Jersey. For




 17
      http://www.citronpharma.com/vision-mission-strategy.html (last visited July 20, 2015).


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 example, upon information and belief, Citron Pharma is actively preparing to make the proposed

 generic copies of ZYTIGA® (abiraterone acetate) that are the subject of Citron’s ANDA No.

 208371, and to use, sell, and offer for sale such generic copies in this State and this judicial

 district.

         197.     Upon information and belief, Citron Pharma has substantial, continuous and

 systematic contacts with New Jersey, including, inter alia, its incorporation in New Jersey and

 its principal places of business in New Jersey, and it has registered to do business in New Jersey,

 appointed a registered agent in New Jersey for receipt of service of process, and registered as a

 drug wholesaler in New Jersey.

         198.     Upon information and belief, Citron Pharma has previously submitted to the

 jurisdiction of this Court and asserted counterclaims in this jurisdiction. See, e.g., Takeda Gmbh,

 et al. v. Citron Pharma LLC and MSN Labs. Pvt. Ltd., No. 3:15-cv-03383.

         199.     This Court has personal jurisdiction over Citron Pharma by virtue of, among other

 things, (1) its continuous and systematic contacts with New Jersey, including its incorporation in

 New Jersey and its principal places of business in East Brunswick, New Jersey and Holmdel,

 New Jersey; (2) its consent to jurisdiction in New Jersey by its registration to do business in New

 Jersey and appointment of registered agent in New Jersey for the receipt of service of process;

 (3) its registration as a drug wholesaler in New Jersey (4) its tortious acts of patent infringement

 that will result in foreseeable harm in New Jersey; (5) its purposefully availing itself of the

 jurisdiction of this court in the past; and (6) its sale of a substantial volume of prescription drugs

 in New Jersey.




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 Defendant DRL

         200.   Upon information and belief, DRL Inc. is in the business of formulating,

 manufacturing, marketing, and selling generic prescription pharmaceutical drugs that it

 distributes in New Jersey and throughout the United States.

         201.   This Court has personal jurisdiction over DRL Ltd. and DRL Inc. by virtue of the

 fact that, inter alia, they have committed a tortious act of patent infringement under 35 U.S.C. §

 271(e)(2), and intend a future course of conduct that includes acts of patent infringement in New

 Jersey. These acts have led and will lead to foreseeable harm and injury to Janssen, including to

 Plaintiff Janssen R&D, a New Jersey resident corporation, in New Jersey. For example, upon

 information and belief, DRL Ltd. and DRL Inc. are actively preparing to make the proposed

 generic copies of ZYTIGA® (abiraterone acetate) that are the subject of DRL’s ANDA No.

 208416, and to use, sell, and offer for sale such generic copies in this State and this judicial

 district.

         202.   Upon information and belief, DRL Inc. has substantial, continuous and systematic

 contacts with New Jersey, including, inter alia, its incorporation in New Jersey and its principal

 place of business in New Jersey, and it has registered to do business in New Jersey, appointed a

 registered agent for service of process in New Jersey, and registered as a drug manufacturer and

 wholesaler in New Jersey.

         203.    Upon information and belief, DRL Inc. has previously actively litigated in this

 jurisdiction, submitted to the jurisdiction of this Court, and has asserted counterclaims in this

 jurisdiction. See, e.g., Sanofi-Aventis U.S. LLC, et al. v. Dr. Reddy’s Labs. Inc. and Dr. Reddy’s

 Labs., Ltd., No. 3:15-cv-02522; Sucampo AG, et al. v. Dr. Reddy’s Labs. Inc. and Dr. Reddy’s

 Labs., Ltd., No. 3:14-cv-07114; Dr. Reddy’s Labs., Inc. and Dr. Reddy’s Labs., Ltd. v. Purdue




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 Pharm. Prods. L.P., et al., No. 2:14-cv-03230; and Dr. Reddy’s Labs., Ltd. and Dr. Reddy’s

 Labs., Inc. v. Eli Lilly & Co., No. 3:09-cv-00192.

        204.    Upon information and belief, DRL Inc. is the authorized U.S. agent for DRL Ltd.

        205.    Upon information and belief, DRL Ltd., directly or through DRL Inc., is in the

 business of formulating, manufacturing, marketing, and selling generic prescription

 pharmaceutical drugs that it distributes in New Jersey and throughout the United States.

        206.    Upon information and belief, DRL Ltd. has substantial, continuous and systematic

 contacts with New Jersey, directly or through its wholly-owned subsidiary DRL Inc.

        207.    Upon information and belief, DRL Ltd. maintains research and development

 facilities in New Jersey, including its Technology Development Centre in Princeton, NJ and

 Brunswick Research Center in Monmouth Junction, NJ.

        208.    Upon information and belief, DRL Ltd. has previously actively litigated in this

 jurisdiction, submitted to the jurisdiction of this Court, and has asserted counterclaims in this

 jurisdiction. See, e.g., Sanofi-Aventis U.S. LLC, et al. v. Dr. Reddy’s Labs. Inc. and Dr. Reddy’s

 Labs., Ltd., No. 3:15-cv-02522; Sucampo AG, et al. v. Dr. Reddy’s Labs. Inc. and Dr. Reddy’s

 Labs., Ltd., No. 3:14-cv-07114; Dr. Reddy’s Labs., Inc. and Dr. Reddy’s Labs., Ltd. v. Purdue

 Pharm. Prods. L.P., et al., No. 2:14-cv-03230 and Dr. Reddy’s Labs., Ltd. and Dr. Reddy’s

 Labs., Inc. v. Eli Lilly & Co., No. 3:09-cv-00192.

        209.    Upon information and belief, DRL Inc. and DRL Ltd. hold themselves out as a

 single entity for the purposes of manufacturing, selling, marketing, distribution, and importation

 of generic drug products in New Jersey and throughout the United States.

        210.    On information and belief, DRL Inc. and DRL Ltd. are agents of each other with

 respect to formulating, manufacturing, packaging, marketing and/or selling pharmaceutical




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 products throughout the United States and will do the same with respect to DRL’s ANDA

 Product for which they have sought approval from the FDA.

         211.    On information and belief, DRL Inc. and DRL Ltd. are acting in concert with

 each other with respect to formulating, manufacturing, packaging, marketing and/or selling

 pharmaceutical products throughout the United States and will do the same with respect to

 DRL’s ANDA Product for which they have sought approval from the FDA.

         212.    Upon information and belief, DRL Ltd., alone and/or through its affiliate and/or

 agent, DRL Inc., filed the Apotex ANDA with the FDA that is at issue in this patent

 infringement suit.

         213.    Upon information and belief, DRL Inc., alone and/or together with its affiliate

 DRL Ltd. has committed, or aided, abetted, actively induced, contributed to, or participated in

 the commission of an act of patent infringement under 35 U.S.C. § 271(e)(2) that has led and/or

 will lead to foreseeable harm and injury to Janssen, including to Plaintiff Janssen R&D, which is

 a New Jersey company, in New Jersey.

         214.    This Court has personal jurisdiction over DRL Inc. by virtue of, among other

 things, (1) continuous and systematic contacts in New Jersey, including its incorporation in New

 Jersey and its principal place of business in Princeton, NJ; (2) its consent to jurisdiction in New

 Jersey by its registration to do business in New Jersey and appointment of registered agent in

 New Jersey for the receipt of service of process; (3) its registration as a drug manufacturer and

 wholesaler in New Jersey; (4) its acts of tortious patent infringement that will result in

 foreseeable harm in New Jersey; (5) its sale of a substantial volume of prescription drugs in New

 Jersey; (6) its purposefully availing itself of the jurisdiction of this court in the past; and (7) its

 conduct by and through, and in concert with, DRL. Ltd.




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         215.    This Court has personal jurisdiction over DRL Ltd. by virtue of, among other

 things, (1) its continuous and systematic contacts with New Jersey, including its research and

 development facilities in Princeton, New Jersey and Monmouth Junction, New Jersey; (2) its acts

 of tortious patent infringement that will result in foreseeable harm in New Jersey; (3) its sale of a

 substantial volume of prescription drugs in New Jersey; (4) its purposefully availing itself of the

 jurisdiction of this court in the past; and (5) its conduct by and through, and in concert with, DRL

 Inc.

         216.    In the alternative, this Court has personal jurisdiction over DRL Ltd. because the

 requirements of Federal Rule of Civil Procedure 4(k)(2)(A) are met.


 Defendant Mylan

         217.    Upon information and belief, Mylan Pharms. is in the business of formulating,

 manufacturing, marketing, and selling generic prescription pharmaceutical drugs that it

 distributes in New Jersey and throughout the United States.

         218.    This Court has personal jurisdiction over Mylan Pharms. by virtue of the fact that,

 inter alia, it has committed a tortious act of patent infringement under 35 U.S.C. § 271(e)(2), and

 intends a future course of conduct that includes acts of patent infringement in New Jersey. These

 acts have led and will lead to foreseeable harm and injury to Janssen, including Plaintiff Janssen

 R&D, a New Jersey resident corporation, in New Jersey. For example, upon information and

 belief, Mylan Pharms. is actively preparing to make the proposed generic copies of ZYTIGA®

 (abiraterone acetate) that are the subject of Mylan’s ANDA No. 208446, and to use, sell, and

 offer for sale such generic copies in this State and this judicial district.

         219.    Upon information and belief, Mylan Pharms. has substantial, continuous and

 systematic contacts with New Jersey, and it is registered to do business in New Jersey, has



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 appointed a registered agent in New Jersey for receipt of service of process, and is registered as a

 drug manufacturer and wholesaler in New Jersey.

        220.    Upon information and belief, Mylan Pharms. has previously actively litigated in

 this jurisdiction, submitted to the jurisdiction of this Court, and asserted counterclaims in this

 jurisdiction. See, e.g., Mylan Inc., et al. v. SmithKline Beecham Corp., et al., No. 3:10-cv-04809;

 Mylan Inc., et al. v. Apotex Inc., et al., No. 3:14-cv-04560; Warner Chilcott Co., LLC v. Mylan

 Inc., et al., No. 13-cv-06560; Aptalis Pharma US Inc., et al. v. Mylan Pharms. Inc., et al., No.

 3:13-cv-04158.

        221.    Upon information and belief, Mylan Inc., directly or through Mylan Pharms., is in

 the business of formulating, manufacturing, marketing, and selling generic prescription

 pharmaceutical drugs that it distributes in New Jersey and throughout the United States.

        222.    Upon information and belief, Mylan Inc. has substantial, continuous and

 systematic contacts with New Jersey, including the direction of operations and management of

 Mylan Pharms., and it is registered to do business in New Jersey and has appointed a registered

 agent in New Jersey for receipt of service of process in New Jersey.

        223.    Upon information and belief, Mylan Inc. owns a subsidiary, Mylan Specialty,

 located at 110 Allen Rd., Basking Ridge, New Jersey 07920.

        224.    Upon information and belief, Mylan Inc. has previously actively litigated in this

 jurisdiction, submitted to the jurisdiction of this Court, and has asserted counterclaims in this

 jurisdiction. See, .e.g., Mylan Inc., et al. v. SmithKline Beecham Corp., et al., No. 3:10-cv-

 04809; Mylan Inc., et al. v. Apotex Inc., et al., No. 3:14-cv-04560; Aptalis Pharma US Inc., et al.

 v. Mylan Pharms. Inc., et al., No. 3:13-cv-04158.




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           225.   Upon information and belief, Mylan Pharms. and Mylan Inc. hold themselves out

 as a single entity for the purposes of manufacturing, selling, marketing, distribution, and

 importation of generic drug products in New Jersey and throughout the United States. Upon

 information and belief, Mylan Inc.’s website describes Mylan Inc. and its subsidiaries as a

 company “with true vertical integration.”18

           226.   On information and belief, Mylan Pharms. and Mylan Inc. are agents of each

 other with respect to formulating, manufacturing, packaging, marketing and/or selling

 pharmaceutical products throughout the United States and will do the same with respect to

 Mylan’s ANDA Product for which they have sought approval from the FDA.

           227.   On information and belief, Mylan Pharms. and Mylan Inc. are acting in concert

 with each other with respect to formulating, manufacturing, packaging, marketing and/or selling

 pharmaceutical products throughout the United States and will do the same with respect to

 Mylan’s ANDA Product for which they have sought approval from the FDA.

           228.   Upon information and belief, Mylan Inc., together with its affiliate and/or agent,

 Mylan Pharms., filed the Mylan ANDA with the FDA that is at issue in this patent infringement

 suit.

           229.   Upon information and belief, Mylan Inc. alone and/or together with its affiliate

 and/or agent Mylan Pharms. has committed, or aided, abetted, actively induced, contributed to,

 or participated in the commission of an act of patent infringement under 35 U.S.C. § 271(e)(2)

 that has led and/or will lead to foreseeable harm and injury to Janssen, including to Janssen

 R&D, which is a New Jersey company, in New Jersey.




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      http://www.mylan.com/en/company/about-us (last visited July 21, 2015).


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         230.    This Court recently denied a Motion to Dismiss for lack of personal jurisdiction

 by Mylan Inc. and Mylan Pharms., finding that the Court “may exercise general jurisdiction over

 Mylan Inc. and Mylan [Pharms.].” Otsuka Pharm. Co., Ltd. v. Mylan Inc., et al., No. 1:14-cv-

 04508, 2015 U.S. Dist. LEXIS 35679 at *34 (D.N.J. Mar. 23, 2015). There, this Court found

 that “Mylan Inc. and Mylan [Pharms.] consented to the Court’s jurisdiction by registering to do

 business in New Jersey, by appointing an in-state agent for service of process in New Jersey, and

 by actually engaging in a substantial amount of business in this state.” Id.

         231.    Similarly, this Court denied Mylan Pharms.’ Motion to Dismiss for lack of

 personal jurisdiction, holding that “Mylan [Pharms.] consented to personal jurisdiction by

 complying with the State of New Jersey’s registration requirements and appointing an in-state

 agent to accept service of process.” Boehringer Ingelheim Pharma Gmbh & Co. KG, et al. v.

 Teva Pharm. USA, Inc., et al., No. 3:14-cv-07811, D.I. 76 at 4 (D.N.J. July 16, 2015).

         232.    This Court has personal jurisdiction over Mylan Pharms. by virtue of, among

 other things, (1) its continuous and systematic contacts with New Jersey; (2) its consent to

 jurisdiction in New Jersey by its registration to do business in New Jersey and appointment of a

 registered agent in New Jersey for the receipt of service of process; (3) its registration as a drug

 manufacturer and wholesaler in New Jersey; (4) its acts of patent infringement under 35 U.S.C. §

 271(e)(2) in New Jersey; (5) its sale of a substantial volume of prescription drugs in New Jersey;

 (6) its purposefully availing itself of the jurisdiction of this court in the past; and (7) its conduct

 by and through, and in concert with, Mylan Inc.

         233.    This Court has personal jurisdiction over Mylan Inc. by virtue of, among other

 things, (1) its consent to jurisdiction in New Jersey by its registration to do business in New

 Jersey and appointment of registered agent in New Jersey for the receipt of service of process;




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 (2) its presence in New Jersey, including a subsidiary in Basking Ridge, NJ; (3) its acts of

 tortious patent infringement that will result in foreseeable harm in New Jersey; (4) its sale of a

 substantial volume of prescription drugs in New Jersey; (5) its continuous and systematic

 contacts with New Jersey; (6) its purposefully availing itself of the jurisdiction of this court in

 the past; and (7) its conduct by and through, and in concert with, Mylan Pharms.


 Defendant Par

         234.    Upon information and belief, Par Pharm. Inc. is in the business of formulating,

 manufacturing, marketing, and selling generic prescription pharmaceutical drugs that it

 distributes in New Jersey and throughout the United States.

         235.    This Court has personal jurisdiction over Par Pharm. Inc. by virtue of the fact that,

 inter alia, it has committed a tortious act of patent infringement under 35 U.S.C. § 271(e)(2), and

 intends a future course of conduct that includes acts of patent infringement in New Jersey. These

 acts have led and will lead to foreseeable harm and injury to Janssen, including to Plaintiff

 Janssen R&D, a New Jersey resident corporation, in New Jersey. For example, upon information

 and belief, Par Pharm. Inc. is actively preparing to make the proposed generic copies of

 ZYTIGA® (abiraterone acetate) that are the subject of Par’s ANDA No. 208168, and to use, sell,

 and offer for sale such generic copies in this State and this judicial district.

         236.    Upon information and belief, Par Pharm. Inc. has substantial, continuous and

 systematic contacts with New Jersey, including corporate headquarters in Woodcliff Lake, NJ

 and Sales and Administration offices in Parsippany, NJ,19 and it has registered to do business in

 New Jersey and appointed a registered agent for service of process in New Jersey.



 19

 http://www.parpharm.com/generics/index.php?option=com_content&view=article&id=49&Itemi


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        237.    Upon information and belief, Par Pharm. Inc has previously submitted to the

 jurisdiction of this Court and has asserted counterclaims in this jurisdiction. See, e.g. Shire LLC

 v. Par Pharm., Inc. and Par Pharm. Cos, Inc., No. 1:15-cv-01454; Supernus Pharms., Inc. v. Par

 Pharm. Cos., Inc. and Par Pharm., Inc., No. 2:15-cv-00326; Par Pharm., Inc. and Alkermes

 Pharma Ireland Ltd. v. Breckenridge Pharm., Inc., No. 1:13-cv-04000; and MSD Consumer

 Prods., Inc., et al. v. Par Pharm., Inc., No. 3:10-cv-04837.

        238.    Upon information and belief, Par Pharm. Cos. Inc., directly or through Par Pharm.

 Inc., is in the business of formulating, manufacturing, marketing, and selling generic prescription

 pharmaceutical drugs that it distributes in New Jersey and throughout the United States.

        239.    Upon information and belief, Par Pharm. Cos. Inc. has substantial, continuous and

 systematic contacts with New Jersey, including corporate headquarters in Woodcliff Lake, NJ

 and Sales and Administration offices in Parsippany, NJ,20 and through the direction of the

 operations and management of Par Pharm. Inc. in New Jersey.

        240.    Upon information and belief, Par Pharm. Cos. Inc. filed a Form 10-K with the

 SEC, which states that Par Pharm. Cos. Inc. “principally through its wholly owned operating

 subsidiary, Par Pharmaceutical, Inc., specializes in developing, licensing, manufacturing,




 d=71(last visited July 30, 2015);
 http://www.parpharm.com/index.php?option=com_content&view=article&id=77&Itemid=94
 (last visited July 30, 2015).
 20

 http://www.parpharm.com/generics/index.php?option=com_content&view=article&id=49&Itemi
 d=71 (last visited July 30, 2015);
 http://www.parpharm.com/index.php?option=com_content&view=article&id=77&Itemid=94
 (last visited July 30, 2015).


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 marketing and distributing generic drugs in the United States.” 21 The Form 10-K also states that

 “[t]he focus of Par Pharmaceutical is to develop, license, manufacture, market and distribute

 generic prescription drugs . . . .”22

            241.   Upon information and belief, Par Pharm. Cos. Inc. issued a press release stating

 that “[Par Pharm. Cos. Inc.] is a U.S.-based specialty pharmaceutical company. Through its

 wholly owned subsidiary’s two operating divisions, Par Pharmaceutical and Strativa

 Pharmaceuticals, it develops, manufactures and markets higher-barrier-to-entry generic drugs

 and niche, innovative proprietary pharmaceuticals.”23

            242.   Upon information and belief, Par Pharm. Cos. Inc. has previously submitted to the

 jurisdiction of this Court, and has asserted counterclaims in this jurisdiction. See, e.g., Supernus

 Pharms., Inc. v. Par Pharm. Cos., Inc. and Par Pharm., Inc., No. 2:15-cv-00326.

            243.   Upon information and belief, Par Pharm. Inc. and Par Pharm. Cos. Inc. hold

 themselves out as a single entity for the purposes of manufacturing, selling, marketing,

 distribution, and importation of generic drug products in New Jersey and throughout the United

 States.

            244.   On information and belief, Par Pharm. Inc. and Par Pharm. Cos. Inc. are agents of

 each other with respect to formulating, manufacturing, packaging, marketing and/or selling

 pharmaceutical products throughout the United States and will do the same with respect to Par’s

 ANDA Product for which they have sought approval from the FDA.


 21
   March 13, 2015 Form 10-K, at 3; http://pr.parpharm.com/phoenix.zhtml?c=81806&p=irol-sec
 (last visited July 17, 2015).
 22
      Id. at 4.
 23
   “Par Pharmaceutical Completes Acquisition of Anchen,”
 http://pr.parpharm.com/phoenix.zhtml?c=81806&p=irol-newsArticle&ID=1631719 (last visited
 July 17, 2015).


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        245.    On information and belief, Par Pharm. Inc. and Par Pharm. Cos. Inc. are acting in

 concert with each other with respect to formulating, manufacturing, packaging, marketing and/or

 selling pharmaceutical products throughout the United States and will do the same with respect

 to Par’s ANDA Product for which they have sought approval from the FDA.

        246.    Upon information and belief, Par Pharm. Cos. Inc. together with its affiliate

 and/or agent, Par Pharm. Inc., filed the Par ANDA with the FDA that is at issue in this patent

 infringement suit.

        247.    Upon information and belief, Par Pharm. Cos. Inc. alone and/or together with its

 affiliate and/or agent Par Pharm. Inc. has committed, or aided, abetted, actively induced,

 contributed to, or participated in the commission of an act of patent infringement under 35

 U.S.C. § 271(e)(2) that has led and/or will lead to foreseeable harm and injury to Janssen,

 including Janssen R&D, which is a New Jersey company, in New Jersey.

        248.    This Court has personal jurisdiction over Par Pharm. Inc. by virtue of, among

 other things, (1) its continuous and systematic contacts with New Jersey, including places of

 business in Woodcliff Lake, NJ and Parsippany, NJ; (2) its consent to jurisdiction in New Jersey

 by its registration to do business in New Jersey, and appointment of a registered agent for service

 of process; (3) its registration as a drug manufacturer and wholesaler in New Jersey; (4) its acts

 of tortious patent infringement that will result in foreseeable harm in New Jersey; (5) its sale of a

 substantial volume of prescription drugs in New Jersey; (6) its purposefully availing itself of the

 jurisdiction of this court in the past; and (7) its conduct by, through, and in concert with, Par

 Pharm. Cos. Inc.

        249.    This Court has personal jurisdiction over Par Pharm. Cos. Inc. by virtue of,

 among other things, (1) its continuous and systematic contacts with New Jersey, including places




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 of business at Woodcliff Lake, NJ and Parsippany, NJ; (2) its consent to jurisdiction in New

 Jersey by its registration to do business in New Jersey, and appointment of registered agent to

 accept service of process; (3) its acts of tortious patent infringement that will result in

 foreseeable harm in New Jersey; (4) its sale of a substantial volume of prescription drugs in New

 Jersey; (5) its purposefully availing itself of the jurisdiction of this court in the past; and (6) its

 conduct by and through, and in concert with, Par Pharm. Inc.


 Defendant Sun

         250.    By email dated July 15, 2015, through its counsel, Sun has stated that “Sun will

 consent to jurisdiction in the U.S. District Court of New Jersey for any action brought under 21

 U.S.C. 355(j)(5)(B)(iii), pertaining to the [Sun Notice Letter] only.”

         251.    Upon information and belief, Sun Ltd., directly and through its wholly-owned

 subsidiaries, including Sun Inc., is in the business of formulating, manufacturing, marketing, and

 selling generic prescription pharmaceutical drugs that it distributes in New Jersey and throughout

 the United States.

         252.    Upon information and belief, Sun Inc., is the authorized U.S. agent for Sun Ltd.

         253.    This Court has personal jurisdiction over Sun Ltd. and Sun Inc. by virtue of the

 fact that, inter alia, they have committed a tortious act of patent infringement under 35 U.S.C. §

 271(e)(2), and intend a future course of conduct that includes acts of patent infringement in New

 Jersey. These acts have led and will lead to foreseeable harm and injury to Janssen, including to

 Plaintiff Janssen R&D, a New Jersey resident corporation, in New Jersey. For example, upon

 information and belief, Sun Ltd. and Sun Inc. are actively preparing to make the proposed

 generic copies of ZYTIGA® (abiraterone acetate) that are the subject of Sun’s ANDA No.




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 208440, and to use, sell, and offer for sale such generic copies in this State and this judicial

 district.

            254.   Upon information and belief, Sun Ltd. has substantial, continuous and systematic

 contacts with New Jersey, directly and through its wholly owned subsidiaries, including Sun Inc.

 Upon information and belief, Sun Ltd.’s website states that Sun has “been present in the US

 since 1996, working with the country’s healthcare system with a focus on generics, branded

 generics and over-the-counter (OTC) products.”24 Sun Ltd.’s website also states that its “US

 headquarters are in Cranbury, New Jersey,”25 and lists an R& D Center in Cranbury, New

 Jersey,26 and manufacturing facilities in North Brunswick, New Brunswick, and Cranbury, New

 Jersey.27

            255.   Upon information and belief, Sun Ltd. has previously submitted to the jurisdiction

 of this Court and has asserted counterclaims in this jurisdiction. See, e.g., Otsuka Pharm. Co.,

 Ltd. v. Sun Pharm. Indus., Ltd., et al., No. 1:14-cv-04307; AstraZeneca AB, et al. v. Sun Pharma

 Global FZE, et al., No. 3:10-cv-01017; and Orion Corp. v. Sun Pharm. Indus., Inc. et al., No.

 3:07-cv-05436.

            256.   Upon information and belief, Sun Inc. is in the business of formulating,

 manufacturing, marketing, and selling generic prescription pharmaceutical drugs that it

 distributes in New Jersey and throughout the United States, including under the control, and for

 the direct benefit of Sun Ltd.


 24
      http://www.sunpharma.com/USA (last visited July 20, 2015).
 25
      Id.
 26
      http://www.sunpharma.com/operations/research-and-development (last visited July 20, 2015).
 27
      http://www.sunpharma.com/operations/manufacturing (last visited July 20, 2015).




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        257.    Upon information and belief, Sun Inc. has substantial, continuous and systematic

 contacts with New Jersey, including, inter alia, a principal place of business in Cranbury, New

 Jersey, and it has registered to do business in New Jersey, appointed a registered agent in New

 Jersey for receipt of service of process, and registered as a drug manufacturer and wholesaler in

 New Jersey.

        258.    Upon information and belief, Sun Inc. has previously submitted to the jurisdiction

 of this Court, and has asserted counterclaims in this jurisdiction. See, e.g., Otsuka Pharm. Co.,

 Ltd. v. Sun Pharm. Indus. Ltd., et al., No. 1:14-cv-04307 and AstraZeneca AB, et al. v. Sun

 Pharma Global FZE, et al., No. 3:10-cv-01017.

        259.    Upon information and belief, Sun Ltd. and Sun Inc. hold themselves out as a

 single entity for the purposes of manufacturing, selling, marketing, distribution, and importation

 of generic drug products in New Jersey and throughout the United States.

        260.    On information and belief, Sun Ltd. and Sun Inc. are agents of each other with

 respect to formulating, manufacturing, packaging, marketing and/or selling pharmaceutical

 products throughout the United States and will do the same with respect to Sun’s ANDA Product

 for which they have sought approval from the FDA.

        261.    On information and belief, Sun Ltd. and Sun Inc. are acting in concert with each

 other with respect to formulating, manufacturing, packaging, marketing and/or selling

 pharmaceutical products throughout the United States and will do the same with respect to Sun’s

 ANDA Product for which they have sought approval from the FDA.

        262.    Upon information and belief, Sun Ltd., together with its affiliate and/or agent, Sun

 Inc., submitted the ANDA with the FDA that is at issue in this patent infringement suit.




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        263.    Upon information and belief, Sun Inc., alone and/or together with its affiliate Sun

 Ltd. has committed, or aided, abetted, actively induced, contributed to, or participated in the

 commission of an act of patent infringement under 35 U.S.C. § 271(e)(2) that has led and/or will

 lead to foreseeable harm and injury to Janssen, including to Plaintiff Janssen R&D, which is a

 New Jersey company, in New Jersey.

        264.    This Court has personal jurisdiction over Sun Ltd. by virtue of, among other

 things, (1) its consent to jurisdiction in New Jersey by its express representation that “Sun will

 consent to jurisdiction in the U.S. District Court of New Jersey for any action brought under 21

 U.S.C. 355(j)(505)(B)(iii), pertaining to the [Sun Notice Letter] only”; (2) its continuous and

 systematic contacts with New Jersey, including its principal place of business (US headquarters)

 in Cranbury, New Jersey, and several R&D and manufacturing facilities in New Jersey; (3) its

 acts of tortious patent infringement that will result in foreseeable harm in New Jersey; (4) its sale

 of a substantial volume of prescription drugs in New Jersey; (5) its purposefully availing itself of

 the jurisdiction of this court in the past; and (6) its conduct by, through, and in concert with Sun

 Inc.

        265.    In the alternative, this Court has personal jurisdiction over Sun Ltd. because the

 requirements of Federal Rule of Civil Procedure 4(k)(2)(A) are met.

        266.    This Court has personal jurisdiction over Sun Inc. by virtue of, among other

 things, (1) its consent to jurisdiction in New Jersey by its express representation that “Sun will

 consent to jurisdiction in the U.S. District Court of New Jersey for any action brought under 21

 U.S.C. 355(j)(5)(B)(iii), pertaining to the [Sun Notice Letter] only”; (2) its continuous and

 systematic contacts with New Jersey, including its principal place of business (US headquarters)

 in Cranbury, New Jersey, and several R&D and manufacturing facilities in New Jersey; (3) its




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 consent to jurisdiction in New Jersey by its registration to do business in New Jersey and

 appointment of registered agent in New Jersey for the receipt of service of process; (4) its

 registration as a drug manufacturer and wholesaler in New Jersey; (5) its tortious acts of patent

 infringement that will result in foreseeable harm in New Jersey; (6) its sale of a substantial

 volume of prescription drugs in New Jersey; (7) its purposefully availing itself of the jurisdiction

 of this court in the past; and (8) its conduct by and through, and in concert with, Sun Ltd.


 Defendant Teva

         267.   By email dated July 22, 2015, through its counsel, Teva stated that “Teva will not

 contest personal jurisdiction in NJ for purposes of this case only.”

         268.   Upon information and belief, Teva Pharms. USA is in the business of

 formulating, manufacturing, marketing, and selling generic prescription pharmaceutical drugs

 that it distributes in New Jersey and throughout the United States.

         269.   This Court has personal jurisdiction over Teva Pharms. USA by virtue of the fact

 that, inter alia, it has committed a tortious act of patent infringement under 35 U.S.C. §

 271(e)(2), and intends a future course of conduct that includes acts of patent infringement in

 New Jersey. These acts have led and will lead to foreseeable harm and injury to Janssen,

 including to Plaintiff Janssen R&D, a New Jersey resident corporation, in New Jersey. For

 example, upon information and belief, Teva Pharms. USA is actively preparing to make the

 proposed generic copies of ZYTIGA® (abiraterone acetate) that are the subject of Teva’s ANDA

 No. 208432, and to use, sell, and offer for sale such generic copies in this State and this judicial

 district.




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           270.   Upon information and belief, Teva Pharms. USA employs people throughout New

 Jersey, including at least the following locations: 8 Gloria Ln, Fairfield, NJ 07004; 208 Passaic

 Avenue, Fairfield, NJ 07004; and 400 Chestnut Ridge Rd., Woodcliff Lake, NJ 07677.

           271.   Upon information and belief, Teva Pharms. USA has substantial, continuous and

 systematic contacts with New Jersey, and it has registered to do business in New Jersey,

 appointed a registered agent in New Jersey for receipt of service of process, and registered as a

 drug manufacturer and wholesaler in New Jersey.

           272.   Upon information and belief, Teva Pharms. USA has previously actively litigated

 in this jurisdiction, submitted to the jurisdiction of this Court and has asserted counterclaims in

 this jurisdiction. See, e.g., Teva Pharms. USA, Inc. et al. v. Synthon Pharms., Inc. et al., No.

 2:15-cv-00472; Teva Pharms. USA, Inc. et al. v. Dr. Reddy’s Labs. Ltd., and Dr. Reddy’s Labs.

 Inc., No. 2:15-cv-00471; Teva Pharms. USA, Inc. et al. v. Dr. Reddy’s Labs. Ltd. et al., No. 2:14-

 cv-05672; Otsuka Pharm. Co., Ltd. v. Teva Pharms.USA, Inc., No. 1:14-cv-05878; and United

 Therapeutics Corp. v. Teva Pharms. USA, Inc., No. 3:14-cv-05498.

           273.   Upon information and belief, Teva Pharms. Indus. Ltd., directly or through Teva

 Pharms. USA, is in the business of formulating, manufacturing, marketing, and selling generic

 prescription pharmaceutical drugs that it distributes in New Jersey and throughout the United

 States.

           274.   Upon information and belief, Teva Pharms. Indus. Ltd. has substantial,

 continuous and systematic contacts with New Jersey, including, but not limited to, the direction

 of the operations and management of Teva Pharms. USA.

           275.   Upon information and belief, Teva Pharms. Indus. Ltd. has previously actively

 litigated in this jurisdiction, submitted to the jurisdiction of this court, and asserted counterclaims




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 in this jurisdiction. See e.g., Teva Pharms. USA, Inc. et al. v. Synthon Pharms., Inc. et al., No.

 2:15-cv-00472; Teva Pharms. USA, Inc. et al. v. Dr. Reddy’s Labs. Ltd., and Dr. Reddy’s Labs.

 Inc., No. 2:15-cv-00471; Teva Pharms. USA, Inc. et al. v. Dr. Reddy’s Labs. Ltd. et al., No. 2:14-

 cv-05672; Helsinn Healthcare S.A., et al. v. Dr. Reddy’s Labs. Ltd., et al., No. 3:11-3962.

           276.   Upon information and belief, Teva Pharms. USA and Teva Pharms. Indus. Ltd.

 hold themselves out as a single entity for the purposes of manufacturing, selling, marketing,

 distribution, and importation of generic drug products in New Jersey and throughout the United

 States.

           277.   On information and belief, Teva Pharms. USA and Teva Pharms. Indus. Ltd. are

 agents of each other with respect to formulating, manufacturing, packaging, marketing and/or

 selling pharmaceutical products throughout the United States and will do the same with respect

 to Teva’s ANDA Product for which they have sought approval from the FDA.

           278.   On information and belief, Teva Pharms. Indus. Ltd. and Teva Pharms. USA are

 acting in concert with each other with respect to formulating, manufacturing, packaging,

 marketing and/or selling pharmaceutical products throughout the United States and will do the

 same with respect to Teva’s ANDA Product for which they have sought approval from the FDA.

           279.   Upon information and belief, Teva Pharms. Indus. Ltd., together with its affiliate

 and/or agent, Teva Pharms. USA, filed the Teva ANDA with the FDA that is at issue in this

 patent infringement suit.

           280.   Upon information and belief, Teva Pharms. Indus. Ltd. alone and/or together with

 its affiliate and/or agent Teva Pharms. USA has committed, or aided, abetted, actively induced,

 contributed to, or participated in the commission of an act of patent infringement under 35




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 U.S.C. § 271(e)(2) that has led and/or will lead to foreseeable harm and injury to Janssen,

 including to Janssen R&D, which is a New Jersey company, in New Jersey.

         281.    This Court has personal jurisdiction over Teva Pharms. USA by virtue of, among

 other things, (1) its consent to jurisdiction in New Jersey by its express representation that it

 “will not contest personal jurisdiction in NJ for purposes of this case only”; (2) its continuous

 and systematic contacts with New Jersey, including its facilities in Fairfield, New Jersey and

 Woodcliff Lake, New Jersey; (3) its consent to jurisdiction in New Jersey by its registration to do

 business in New Jersey and appointment of registered agent in New Jersey for the receipt of

 service of process; (4) its registration as a drug manufacturer and wholesaler in New Jersey; (5)

 its tortious acts of patent infringement that will result in foreseeable harm in New Jersey; (6) its

 sale of a substantial volume of prescription drugs in New Jersey; (7) its purposefully availing

 itself of the jurisdiction of this court in the past; and (8) its conduct by and through, and in

 concert with, Teva Ltd.

         282.    This Court has personal jurisdiction over Teva Ltd. by virtue of, among other

 things, (1) its consent to jurisdiction in New Jersey by its express representation that it “will not

 contest personal jurisdiction in NJ for purposes of this case only”; (2) its continuous and

 systematic contacts with New Jersey; (3) its acts of tortious patent infringement that will result in

 foreseeable harm in New Jersey; (4) its sale of a substantial volume of prescription drugs in New

 Jersey; (5) its purposefully availing itself of the jurisdiction of this court in the past; and (6) its

 conduct by and through, and in concert with, Teva Pharms. USA.

         283.    In the alternative, this Court has personal jurisdiction over Teva Ltd. because the

 requirements of Federal Rule of Civil Procedure 4(k)(2)(A) are met.




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 Defendant West-Ward

         284.    Upon information and belief, West-Ward Pharm. is in the business of formulating,

 manufacturing, marketing, and selling generic prescription pharmaceutical drugs that it

 distributes in New Jersey and throughout the United States.

         285.    This Court has personal jurisdiction over West-Ward Pharm. and Hikma Pharms.

 by virtue of the fact that, inter alia, they have committed a tortious act of patent infringement

 under 35 U.S.C. § 271(e)(2), and intend a future course of conduct that includes acts of patent

 infringement in New Jersey. These acts have led and will lead to foreseeable harm and injury to

 Janssen, including to Plaintiff Janssen R&D, a New Jersey resident corporation, in New Jersey.

 For example, upon information and belief, West-Ward Pharm. and Hikma Pharm. are actively

 preparing to make the proposed generic copies of ZYTIGA® (abiraterone acetate) that are the

 subject of Hikma/Westward’s ANDA No. 208339, and to use, sell, and offer for sale such

 generic copies in this State and this judicial district.

         286.    Upon information and belief, West-Ward Pharm. has substantial, continuous and

 systematic contacts with New Jersey, including, inter alia, a principal place of business in

 Eatontown, New Jersey, and it has a manufacturing facility in Cherry Hill, New Jersey, is

 registered to do business in New Jersey and has appointed a registered agent in New Jersey for

 receipt of service of process, and is registered as a drug wholesaler in New Jersey.

         287.    Upon information and belief, West-Ward Pharm. has previously actively litigated

 in this jurisdiction, submitted to jurisdiction of this court, and asserted counterclaims in this

 jurisdiction. See, e.g., West-Ward Pharm. Corp. v. Sandoz Inc. and American Regent, Inc., No.

 3:13-cv-01581; GlaxoSmithKline plc, et. al. v. Hikma Pharm. Co., Ltd. and West-Ward Pharm.

 Corp., No. 3:12-cv-01965.




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          288.    West-Ward Pharm.’s website states the following: “West-Ward Pharmaceuticals

 is one of the top 20 generic prescription medication providers in the US, offering both oral solid

 and injectable pharmaceuticals to a growing number of chain stores, wholesalers, distributors,

 health systems and government agencies. We are the US agent and subsidiary of Hikma PLC.”28

          289.    Upon information and belief, Hikma Pharms. PLC, directly or through its wholly-

 owned subsidiary West-Ward Pharm., is in the business of formulating, manufacturing,

 marketing, and selling generic prescription pharmaceutical drugs that it distributes in New Jersey

 and throughout the United States.

          290.    Upon information and belief, Hikma Pharms. PLC has substantial, continuous and

 systematic contacts with New Jersey, including, inter alia the direction of operations and

 management of West-Ward Pharm. Hikma Pharms. PLC’s website states that its generic

 business in the United States “operates as West-Ward Pharmaceuticals, a domestic marketer and

 manufacturer of generic pharmaceutical products.”29

          291.    Upon information and belief, Hikma Pharms. LLC, directly or through its wholly-

 owned subsidiary West-Ward Pharm., is in the business of formulating, manufacturing,

 marketing, and selling generic prescription pharmaceutical drugs that it distributes in New Jersey

 and throughout the United States.

          292.    Upon information and belief, Hikma Pharms. LLC has substantial, continuous and

 systematic contacts with New Jersey, including, inter alia the direction of operations and

 management of West-Ward Pharm.




 28
      http://www.west-ward.com/en/AboutUs.aspx (last visited July 23, 2015).
 29
      http://www.hikma.com/en/about-hikma/our-businesses.aspx (last visited July 23, 2015).


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        293.    Upon information and belief, Hikma Pharms. LLC has previously submitted to

 the jurisdiction of this Court and has asserted counterclaims in this jurisdiction. See, e.g. Glaxo

 Group Ltd. and SmithKline Beecham Corp. v. West-Ward Pharms. Inc. and Hikma Pharms., No.

 2:03-cv-04791.

        294.    Upon information and belief, Arab Pharm. Manuf. Co., directly or through its

 parents and/or affiliates West-Ward Pharm., Hikma PLC, Hikma LLC, is in the business of

 formulating, manufacturing, marketing, and selling generic prescription pharmaceutical drugs

 that it distributes in New Jersey and throughout the United States.

        295.    Upon information and belief, West-Ward Pharm., Arab Pharm. Manuf. Co.,

 Hikma Pharms. PLC, and Hikma Pharms. LLC hold themselves out as a single entity for the

 purposes of manufacturing, selling, marketing, distribution, and importation of generic drug

 products in New Jersey and throughout the United States.

        296.    On information and belief, West-Ward Pharm., Arab Pharm. Manuf. Co., Hikma

 Pharms. PLC, and Hikma Pharms. LLC are agents of each other with respect to formulating,

 manufacturing, packaging, marketing and/or selling pharmaceutical products throughout the

 United States and will do the same with respect to West-Ward’s ANDA Product for which they

 have sought approval from the FDA.

        297.    On information and belief, West-Ward Pharm., Arab Pharm. Manuf. Co., Hikma

 Pharms. PLC, and Hikma Pharms. LLC are acting in concert with each other with respect to

 formulating, manufacturing, packaging, marketing and/or selling pharmaceutical products

 throughout the United States and will do the same with respect to Hikma/West-Ward’s ANDA

 Product for which Hikma/West-Ward has sought approval from the FDA.




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        298.    Upon information and belief, Hikma Pharms. together with its affiliate and/or

 agent, West-Ward Pharm., filed the Hikma/West-Ward ANDA with the FDA that is at issue in

 this patent infringement suit.

        299.    Upon information and belief, West-Ward Pharms. and/or Arab Pharm. Manuf.

 Co. alone and/or together with their affiliate and agent Hikma Pharms. have committed, or aided,

 abetted, actively induced, contributed to, or participated in the commission of an act of patent

 infringement under 35 U.S.C. § 271(e)(2) that has led and/or will lead to foreseeable harm and

 injury to Janssen, including to Janssen R&D, which is a New Jersey company, in New Jersey.

        300.    This Court has personal jurisdiction over West-Ward Pharm. by virtue of, among

 other things, (1) its continuous and systematic contacts with New Jersey, including its principal

 place of business in Eatontown, NJ and a manufacturing facility in Cherry Hill, NJ; (2) its

 consent to jurisdiction in New Jersey by its registration to do business in New Jersey and

 appointment of registered agent in New Jersey for the receipt of service of process; (3) its

 registration as a drug manufacturer and wholesaler in New Jersey; (4) its acts of tortious patent

 infringement that will result in foreseeable harm in New Jersey; (5) its sale of a substantial

 volume of prescription drugs in New Jersey; (6) its purposefully availing itself of the jurisdiction

 of this court in the past; and (7) its conduct by, through, and in concert with, Hikma Pharms.

 PLC Hikma Pharms. LLC., and Arab Pharm. Manuf. Co.

        301.    This Court has personal jurisdiction over Hikma Pharms. PLC by virtue of,

 among other things, (1) its continuous and systematic contacts with New Jersey; (2) its tortious

 acts of patent infringement that will result in foreseeable harm in New Jersey; (3) its sale of a

 substantial volume of prescription drugs in New Jersey, either directly or through its wholly-




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 owned subsidiary, West-Ward Pharm.; and (4) its conduct by and through, and in concert with

 West-Ward Pharm., Hikma Pharms. LLC., and Arab Pharm. Manuf. Co.

         302.    This Court has personal jurisdiction over Hikma Pharms. LLC by virtue of,

 among other things, (1) its continuous and systematic contacts with New Jersey; (2) its tortious

 acts of patent infringement that will result in foreseeable harm in New Jersey; (3) its sale of a

 substantial volume of prescription drugs in New Jersey, either directly or through West-Ward

 Pharm.; (4) its purposefully availing itself of the jurisdiction of this court in the past; and (5) its

 conduct by and through, and in concert with, West-Ward Pharm., Hikma Pharm. PLC., and Arab

 Pharm. Manuf. Co.

         303.    This Court has personal jurisdiction over Arab Pharm. Manuf. Co. by virtue of,

 among other things, (1) its continuous and systematic contacts with New Jersey; (2) its acts of

 tortious patent infringement that will result in foreseeable harm in New Jersey; (3) its sale of a

 substantial volume of prescription drugs in New Jersey, either directly or through West-Ward

 Pharm.; and (4) its conduct by, through, and in concert with, West-Ward Pharm., Hikma Pharms.

 PLC and Hikma Pharms. LLC.

         304.    In the alternative, this Court has personal jurisdiction over Hikma Pharms. PLC,

 Hikma Pharms. LLC, and Arab Pharm. Manuf. Co. because the requirements of Federal Rule of

 Civil Procedure 4(k)(2)(A) are met.


 Defendant Wockhardt

         305.    By email dated July 16, 2015, through its counsel, Wockhardt stated that

 “Wockhardt ... will not contest jurisdiction in New Jersey only for the action that Janssen intends

 to pursue with respect to Wockhardt’s ANDA reference Zytiga.”




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         306.    Upon information and belief, Wockhardt Bio, directly or through Wockhardt

 USA, is in the business of formulating, manufacturing, marketing, and selling generic

 prescription pharmaceutical drugs throughout the United States, including New Jersey.

         307.    Upon information and belief, Wockhardt USA is the authorized US agent for

 Wockhardt Bio.

         308.    This Court has personal jurisdiction over Wockhardt Bio and/or Wockhardt USA

 by virtue of the fact that, inter alia, it has committed a tortious act of patent infringement under

 35 U.S.C. § 271(e)(2), and intend a future course of conduct that includes acts of patent

 infringement in New Jersey. These acts have led and will lead to foreseeable harm and injury to

 Janssen, including Plaintiff Janssen R&D, a New Jersey resident corporation, in New Jersey. For

 example, upon information and belief, Wockhardt Bio and/or Wockhardt USA are actively

 preparing to make the proposed generic copies of ZYTIGA® (abiraterone acetate) that are the

 subject of Wockhardt’s ANDA No. 208380, and to use, sell, and offer for sale such generic

 copies in this State and this judicial district.

         309.    Upon information and belief, Wockhardt Bio has substantial, continuous and

 systematic contacts with New Jersey, directly or through its wholly owned subsidiary,

 Wockhardt USA.

         310.    Upon information and belief, Wockhardt Bio has previously submitted to the

 jurisdiction of this Court and has asserted counterclaims in this jurisdiction. See, e.g., Takeda

 Pharm. Co. Ltd., et al. v. Wockhardt Bio AG, et al., No. 3:13-cv-06427.

         311.    Upon information and belief, Wockhardt USA is in the business of formulating,

 manufacturing, marketing, and selling generic prescription pharmaceutical drugs that it

 distributes in New Jersey and throughout the United States.




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        312.    Upon information and belief, Wockhardt USA has substantial, continuous and

 systematic contacts with New Jersey, including, inter alia, a principal place of business in

 Parsippany, New Jersey, and it has registered to do business in New Jersey, appointed a

 registered agent in New Jersey for receipt of service of process, and is registered as a drug

 wholesaler in New Jersey.

        313.    Wockhardt USA has previously submitted to the jurisdiction of this Court and has

 asserted counterclaims in this jurisdiction. See, e.g., Takeda Pharm. Co. Ltd., et al. v. Wockhardt

 Bio AG, et al., No. 3:13-cv-06427.

        314.    Upon information and belief, Wockhardt Ltd., directly or through Wockhardt

 USA, is in the business of formulating, manufacturing, marketing, and selling generic

 prescription pharmaceutical drugs throughout the United States, including New Jersey.

        315.    Upon information and belief, Wockhardt Ltd. has substantial, continuous and

 systematic contacts with New Jersey, directly or through Wockhardt Bio and/or Wockhardt

 USA.

        316.    Upon information and belief, Wockhardt Ltd. has previously submitted to the

 jurisdiction of this Court, and has asserted counterclaims in this jurisdiction. See, e.g., Takeda

 Pharm. Co. Ltd., et al. v. Wockhardt Bio AG, et al., No. 3:13-cv-06427.

        317.    Upon information and belief, Wockhardt Bio, Wockhardt Ltd., and Wockhardt

 USA hold themselves out as a single entity for the purposes of manufacturing, selling,

 marketing, distribution, and importation of generic drug products in New Jersey and throughout

 the United States.

        318.    On information and belief, Wockhardt Bio, Wockhardt Ltd., and Wockhardt USA

 are agents of each other with respect to formulating, manufacturing, packaging, marketing and/or




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 selling pharmaceutical products throughout the United States and will do the same with respect

 to Wockhardt’s ANDA Product for which they have sought approval from the FDA.

        319.    On information and belief, Wockhardt Bio, Wockhardt Ltd., and Wockhardt USA

 are acting in concert with each other with respect to formulating, manufacturing, packaging,

 marketing and/or selling pharmaceutical products throughout the United States and will do the

 same with respect to Wockhardt’s ANDA Product for which they have sought approval from the

 FDA.

        320.    Upon information and belief, Wockhardt Bio alone and/or together with

 Wockhardt USA and/or Wockhardt Ltd., filed the Wockhardt ANDA with the FDA that is at

 issue in this patent infringement suit.

        321.    Upon information and belief, Wockhardt USA and/or Wockhardt Ltd., alone

 and/or together with Wockhardt Bio, have committed, or aided, abetted, actively induced,

 contributed to, or participated in the commission of an act of patent infringement under 35

 U.S.C. § 271(e)(2) that has led and/or will lead to foreseeable harm and injury to Janssen,

 including to Janssen R&D, which is a New Jersey company, in New Jersey.

        322.    This Court has personal jurisdiction over Wockhardt Bio by virtue of, among

 other things, (1) its consent to jurisdiction by its express representation that “Wockhardt ...will

 not contest jurisdiction in New Jersey only for the action that Janssen intends to pursue with

 respect to Wockhardt’s ANDA referencing Zytiga”; (2) its continuous and systematic contacts

 with New Jersey; (3) its acts of tortious patent infringement that will result in foreseeable harm

 in New Jersey; (4) its sale of a substantial volume of prescription drugs in New Jersey; (5) its

 purposefully availing itself of the jurisdiction of this court in the past; and (6) its conduct by and

 through, and in concert with, Wockhardt USA and Wockhardt Ltd.




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         323.    This Court has personal jurisdiction over Wockhardt USA by virtue of, among

 other things, (1) its continuous and systematic contacts with New Jersey, including its principal

 place of business in Parsippany, New Jersey; (2) its consent to jurisdiction in New Jersey by its

 registration to do business in New Jersey and appointment of registered agent in New Jersey for

 the receipt of service of process; (3) its registration with the State of New Jersey’s Department of

 Health as a drug Wholesaler; (4) its tortious acts of patent infringement that will result in

 foreseeable harm in New Jersey; (5) its sale of a substantial volume of prescription drugs in New

 Jersey; (6) its purposefully availing itself of the jurisdiction of this court in the past; and (7) its

 conduct by and through, and in concert with, Wockhardt Bio and Wockhardt Ltd.

         324.    This Court has personal jurisdiction over Wockhardt Ltd by virtue of, among

 other things, (1) its sale of a substantial volume of prescription drugs in New Jersey; (2) its

 continuous and systematic contacts with New Jersey; (3) its purposefully availing itself of the

 jurisdiction of this court in the past; and (4) its conduct by and through, and in concert with,

 Wockhardt Bio and Wockhardt USA.

         325.    In the alternative, this Court has personal jurisdiction over Wockhardt Ltd. and

 Wockhardt Bio AG because the requirements of Federal Rule of Civil Procedure 4(k)(2)(A) are

 met.


 Defendant Hetero

         326.    By email dated September 18, 2015, Hetero has stated that “Hetero USA Inc.,

 Hetero Labs Ltd. Unit V, and Hetero Labs Ltd. (collectively “Hetero”) consents to personal

 jurisdiction in the U.S. District Court of New Jersey for purposes of any action relating to

 Hetero’s ANDA # 208349 directed to Abiraterone Acetate (ZYTIGA).”




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         327.    Upon information and belief, Hetero USA is in the business of formulating,

 manufacturing, marketing, and selling generic prescription pharmaceutical drugs that it

 distributes in New Jersey and throughout the United States.

         328.    This Court has personal jurisdiction over Hetero USA, Hetero Unit-V, and Hetero

 Ltd. by virtue of the fact that, inter alia, they have committed a tortious act of patent

 infringement under 35 U.S.C. § 271(e)(2), and intend a future course of conduct that includes

 acts of patent infringement in New Jersey. These acts have led and will lead to foreseeable harm

 and injury to Plaintiffs, including to Plaintiff Janssen R&D, a New Jersey resident corporation, in

 New Jersey. For example, upon information and belief, Hetero USA, Hetero Unit-V, and Hetero

 Ltd. are actively preparing to make the proposed generic copies of ZYTIGA® (abiraterone

 acetate) that are the subject of Hetero’s ANDA No. 208349, and to use, sell, and offer for sale

 such generic copies in this State and this judicial district.

         329.    Upon information and belief, Hetero USA has substantial, continuous and

 systematic contacts with New Jersey, including, inter alia, having a principal place of business in

 Piscataway, New Jersey.

         330.     Upon information and belief, Hetero USA has previously submitted to the

 jurisdiction of this Court and asserted counterclaims in this jurisdiction. See, e.g., Takeda Gmbh,

 et al. v. Hetero USA, Inc. et al., No. 3:15-cv-03385; Otsuka Pharm. Co., Ltd. v. Hetero Drugs

 Ltd., et al., No. 1:15-cv-00161; and Janssen Prods., L.P., et al. v. Hetero Labs. Ltd. et al., No.

 2:13-cv-01444.

         331.    Upon information and belief, Hetero Unit-V, either directly or through Hetero

 USA and/or Hetero Ltd., is in the business of formulating, manufacturing, marketing, and selling

 generic prescription pharmaceutical drugs in New Jersey and throughout the United States.




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           332.   Upon information and belief, Hetero Unit-V has substantial, continuous and

 systematic contacts with New Jersey, including, inter alia, the direction of operations and

 management of Hetero USA.

           333.   Upon information and belief, Hetero Ltd., directly or through Hetero USA and/or

 Hetero Unit-V, is in the business of formulating, manufacturing, marketing, and selling generic

 prescription pharmaceutical drugs in New Jersey and throughout the United States.

           334.   Upon information and belief, Hetero Ltd. has substantial, continuous and

 systematic contacts with New Jersey, including, inter alia, the direction of operations and

 management of Hetero USA and/or Hetero Unit-V.

           335.   Upon information and belief, Hetero Ltd. has previously submitted to the

 jurisdiction of this Court and asserted counterclaims in this jurisdiction. See, e.g., Takeda Gmbh,

 et al. v. Hetero USA, Inc. et al., No. 3:15-cv-03385; Otsuka Pharm. Co., Ltd. v. Hetero Drugs

 Ltd., et al., No. 1:15-cv-00161; and Janssen Prods., L.P. and Janssen R&D Ireland v. Hetero

 Labs. Ltd. et al., No. 2:13-cv-01444.

           336.   Upon information and belief, Hetero USA, Hetero Unit-V, and Hetero Ltd. hold

 themselves out as a single entity for the purposes of manufacturing, selling, marketing,

 distribution, and importation of generic drug products in New Jersey and throughout the United

 States. Hetero’s website states that “[t]he company’s vertical integration in process research and

 chemistry, API manufacturing, formulation development, manufacturing and commercialization

 have enabled our pharmaceutical partners and global healthcare markets to receive medicines

 more rapidly and across wider populations of people in need.”30 Hetero’s website further states




 30
      See http://heteroworld.com/pages/business-overview/ (last visited Sept. 2, 2015).


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 that “Hetero’s full vertical integration of products and services ensure the most cost-competitive

 supply of pharmaceutical APIs and finished dosage products.”31

           337.   Upon information and belief, Hetero USA, Hetero Unit-V, and Hetero Ltd. are

 agents of each other with respect to formulating, manufacturing, packaging, marketing and/or

 selling pharmaceutical products throughout the United States and will do the same with respect

 to Hetero’s ANDA Product for which they have sought approval from the FDA.

           338.   Upon information and belief, Hetero USA, Hetero Unit-V, and Hetero Ltd. are

 acting in concert with each other with respect to formulating, manufacturing, packaging,

 marketing and/or selling pharmaceutical products throughout the United States and will do the

 same with respect to Hetero’s ANDA Product for which they have sought approval from the

 FDA.

           339.   Upon information and belief, Hetero Unit-V and Hetero Ltd., together with their

 affiliate and/or agent, Hetero USA, filed the Hetero ANDA with the FDA that is at issue in this

 patent infringement suit.

           340.   Upon information and belief, Hetero Unit-V and Hetero Ltd., alone and/or

 together with their affiliate and/or agent Hetero USA, have committed, or aided, abetted, actively

 induced, contributed to, or participated in the commission of an act of patent infringement under

 35 U.S.C. § 271(e)(2) that has led and/or will lead to foreseeable harm and injury to Plaintiffs,

 including to Janssen R&D, which is a New Jersey company, in New Jersey.

           341.   This Court has personal jurisdiction over Hetero USA by virtue of, among other

 things, (1) its consent to jurisdiction in New Jersey by its express representation that “Hetero

 USA Inc., Hetero Labs Ltd. Unit V, and Hetero Labs Ltd. (collectively “Hetero”) consents to



 31
      See http://heteroworld.com/pages/why-hetero/ (last visited Sept. 2, 2015).


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 personal jurisdiction in the U.S. District Court of New Jersey for purposes of any action relating

 to Hetero’s ANDA # 208349 directed to Abiraterone Acetate (ZYTIGA)”; (2) its continuous and

 systematic contacts with New Jersey, including its principal place of business in Piscataway,

 New Jersey; (3) its consent to jurisdiction in New Jersey by its registration to do business in New

 Jersey and appointment of a registered agent in New Jersey for the receipt of service of process;

 (4) its registration as a drug wholesaler in New Jersey; (5) its tortious acts of patent infringement

 that will result in foreseeable harm in New Jersey; (6) its sale of a substantial volume of

 prescription drugs in New Jersey; (7) its purposefully availing itself of the jurisdiction of this

 Court in the past; and (8) its conduct by, through, and in concert with Hetero Unit-V and Hetero

 Ltd.

        342.    This Court has personal jurisdiction over Hetero Unit-V by virtue of, among other

 things, (1) its consent to jurisdiction in New Jersey by its express representation that “Hetero

 USA Inc., Hetero Labs Ltd. Unit V, and Hetero Labs Ltd. (collectively “Hetero”) consents to

 personal jurisdiction in the U.S. District Court of New Jersey for purposes of any action relating

 to Hetero’s ANDA # 208349 directed to Abiraterone Acetate (ZYTIGA)”; (2) its continuous and

 systematic contacts with New Jersey; (3) its tortious acts of patent infringement that will result in

 foreseeable harm in New Jersey; (4) its sale of a substantial volume of prescription drugs in New

 Jersey; and (5) its conduct by, through, and in concert with Hetero USA and Hetero Ltd.

        343.    This Court has personal jurisdiction over Hetero Ltd. by virtue of, among other

 things, (1) its consent to jurisdiction in New Jersey by its express representation that “Hetero

 USA Inc., Hetero Labs Ltd. Unit V, and Hetero Labs Ltd. (collectively “Hetero”) consents to

 personal jurisdiction in the U.S. District Court of New Jersey for purposes of any action relating

 to Hetero’s ANDA # 208349 directed to Abiraterone Acetate (ZYTIGA)”; (2) its continuous and




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 systematic contacts with New Jersey; (3) its tortious acts of patent infringement that will result in

 foreseeable harm in New Jersey; (4) its sale of a substantial volume of prescription drugs in New

 Jersey; (5) its purposefully availing itself of the jurisdiction of this court in the past; and (6) its

 conduct by, through, and in concert with Hetero USA and Hetero Unit-V.

           344.   In the alternative, this Court has personal jurisdiction over Hetero Unit-V and

 Hetero Ltd. because the requirements of Federal Rule of Civil Procedure 4(k)(2)(A) are met.


              COUNT I: INFRINGEMENT OF THE ’213 PATENT BY ACTAVIS

           345.   Plaintiffs incorporate the preceding paragraphs as if fully set forth herein.

           346.   The use of Actavis’s ANDA Product is covered by one or more claims of the ’213

 patent.

           347.   The submission of Actavis’s ANDA No. 208274 with a Paragraph IV certification

 regarding the ‘213 patent for the purpose of obtaining approval to engage in the commercial

 manufacture, use, offer for sale, and/or sale of Actavis’s ANDA Product before the expiration of

 the ’213 patent constitutes infringement of one or more of the claims of the ’213 patent under 35

 U.S.C. § 271(e)(2).

           348.   The commercial manufacture, use, offer for sale, sale, marketing, distribution,

 and/or importation of Actavis’s ANDA Product before the expiration of the ‘213 patent would

 infringe one or more claims of the ’213 patent under 35 U.S.C. § 271.

           349.   The use of Actavis’s ANDA Product in accordance with and as directed by

 Actavis’s proposed labeling for that product before the expiration of the ‘213 patent would

 infringe one or more claims of the ’213 patent under 35 U.S.C. § 271.




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        350.    Unless enjoined by this Court, Actavis intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Actavis’s

 ANDA Product immediately and imminently upon approval of the Actavis ANDA.

        351.    Unless enjoined by this Court, Actavis intends to, and will, actively induce

 infringement of the ’213 patent when the Actavis ANDA is approved, and intends to, and will do

 so, immediately and imminently upon approval.

        352.    Actavis knows that Actavis’s ANDA Product and its proposed labeling are

 especially made or adapted for use in infringing the ’213 patent, and that Actavis’s ANDA

 Product and its proposed labeling are not suitable for substantial noninfringing use. Unless

 enjoined by this Court, Actavis intends to, and will, contribute to the infringement of the ’213

 patent immediately and imminently upon approval of the Actavis ANDA.

        353.    The foregoing actions by Actavis prior to the expiration of the ’213 patent

 constitute and/or will constitute infringement, active inducement of infringement, and/or

 contribution to the infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        354.    Actavis had knowledge of the ’213 patent and is knowingly and willfully

 infringing the ’213 patent.

        355.    Actavis acted without a reasonable basis for believing that it would not be liable

 for infringing the ’213 patent, actively inducing infringement of the ’213 patent, and/or

 contributing to the infringement by others of the ’213 patent.

        356.     Unless Actavis is enjoined from infringing the ’213 patent, actively inducing

 infringement of the ’213 patent, and/or contributing to the infringement of the ’213 patent,

 Plaintiffs will suffer irreparable injury for which they have no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

           357.   Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including,

 inter alia, an order of this Court that the FDA set the effective date of approval for Actavis’s

 ANDA No. 208274 to be a date which is not earlier than the expiration date on which the ‘213

 patent expires or any later expiration of exclusivity to which Plaintiffs are or become entitled.

           358.   This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


              COUNT II: INFRINGEMENT OF THE ’438 PATENT BY ACTAVIS

           359.   Plaintiffs incorporate the preceding paragraphs as if fully set forth herein.

           360.   The use of Actavis’s ANDA Product is covered by one or more claims of the ’438

 patent.

           361.   The submission of Actavis’s ANDA No. 208274 with a Paragraph IV certification

 regarding the ’438 patent for the purpose of obtaining approval to engage in the commercial

 manufacture, use, offer for sale, and/or sale of Actavis’s ANDA Product before the expiration of

 the ’438 patent constitutes infringement of one or more of the claims of the ’438 patent under 35

 U.S.C. § 271(e)(2).

           362.   The commercial manufacture, use, offer for sale, sale, marketing, distribution,

 and/or importation of Actavis’s ANDA Product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

           363.   The use of Actavis’s ANDA Product in accordance with and as directed by

 Actavis’s proposed labeling for that product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.




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        364.    Unless enjoined by this Court, Actavis intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Actavis’s

 ANDA Product immediately and imminently upon approval of the Actavis ANDA.

        365.    Unless enjoined by this Court, Actavis intends to, and will, actively induce

 infringement of the ’438 patent when the Actavis ANDA is approved, and intends to, and will do

 so, immediately and imminently upon approval.

        366.    Actavis knows that Actavis’s ANDA Product and its proposed labeling are

 especially made or adapted for use in infringing the ’438 patent, and that Actavis’s ANDA

 Product and its proposed labeling are not suitable for substantial noninfringing use. Unless

 enjoined by this Court, Actavis intends to, and will, contribute to the infringement of the ’438

 patent immediately and imminently upon approval of the Actavis ANDA.

        367.    The foregoing actions by Actavis prior to the expiration of the ’438 patent

 constitute and/or will constitute infringement, active inducement of infringement, and/or

 contribution to the infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        368.    Actavis had knowledge of the ’438 patent and is knowingly and willfully

 infringing the ’438 patent.

        369.    Actavis acted without a reasonable basis for believing that it would not be liable

 for infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or

 contributing to the infringement by others of the ’438 patent.

        370.     Unless Actavis is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Plaintiffs will suffer irreparable injury for which they have no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

        371.    Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including,

 inter alia, an order of this Court that the FDA set the effective date of approval for Actavis’s

 ANDA No. 208274 to be a date which is not earlier than the date on which the ‘438 patent

 expires or any later expiration of exclusivity to which Plaintiffs are or become entitled.

        372.    This case is “exceptional,” as that term is used in 35 U.S.C. § 285.



        COUNT III: INFRINGEMENT OF THE ’438 PATENT BY AMNEAL

        373.    Janssen incorporates the preceding paragraphs as if fully set forth herein.

        374.    The use of Amneal’s ANDA Product is covered by one or more claims of the

 ’438 patent.

        375.    The submission of Amneal’s ANDA No. 208327 with a Paragraph IV

 certification regarding the ‘438 patent for the purpose of obtaining approval to engage in the

 commercial manufacture, use, offer for sale, and/or sale of Amneal’s ANDA Product before the

 expiration of the ’438 patent constitutes infringement of one or more of the claims of the ’438

 patent under 35 U.S.C. § 271(e)(2).

        376.    The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Amneal’s ANDA Product before the expiration of the ‘438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

        377.    The use of Amneal’s ANDA Product in accordance with and as directed by

 Amneal’s proposed labeling for that product before the expiration of the ‘438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.




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        378.    Unless enjoined by this Court, Amneal intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Amneal’s

 ANDA Product immediately and imminently upon approval of the Amneal ANDA.

        379.    Unless enjoined by this Court, Amneal intends to, and will, actively induce

 infringement of the ’438 patent when the Amneal ANDA is approved, and intends to, and will,

 do so immediately and imminently upon approval.

        380.    Amneal knows that Amneal’s ANDA Product and its proposed labeling are

 especially made or adapted for use in infringing the ’438 patent, and that Amneal’s ANDA

 Product and its proposed labeling are not suitable for substantial noninfringing use. Unless

 enjoined by this Court, Amneal intends to, and will, contribute to the infringement of the ’438

 patent immediately and imminently upon approval of the Amneal ANDA.

        381.    The foregoing actions by Amneal prior to the expiration of the ’438 patent

 constitute and/or will constitute infringement, active inducement of infringement, and/or

 contribution to the infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        382.    Amneal had knowledge of the ’438 patent and is knowingly and willfully

 infringing the ’438 patent.

        383.    Amneal acted without a reasonable basis for believing that it would not be liable

 for infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or

 contributing to the infringement by others of the ’438 patent.

        384.     Unless Amneal is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

           385.   Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Amneal’s ANDA

 No. 208327 to be a date which is not earlier than the date on which the ’438 patent expires or any

 later expiration of exclusivity to which Janssen is or becomes entitled.

           386.   This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


           COUNT IV: INFRINGEMENT OF THE ’438 PATENT BY APOTEX

           387.   Janssen incorporates the preceding paragraphs as if fully set forth herein.

           388.   The use of Apotex’s ANDA Product is covered by one or more claims of the ’438

 patent.

           389.   The submission of Apotex’s ANDA No. 208453 with a Paragraph IV certification

 regarding the ‘438 patent for the purpose of obtaining approval to engage in the commercial

 manufacture, use, offer for sale, and/or sale of Apotex’s ANDA Product before the expiration of

 the ’438 patent constitutes infringement of one or more of the claims of the ’438 patent under 35

 U.S.C. § 271(e)(2).

           390.   The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Apotex’s ANDA Product before the expiration of the ‘438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

           391.   The use of Apotex’s ANDA Product in accordance with and as directed by

 Apotex’s proposed labeling for that product before the expiration of the ‘438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.




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        392.    Unless enjoined by this Court, Apotex intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Apotex’s

 ANDA Product immediately and imminently upon approval of the Apotex ANDA.

        393.    Unless enjoined by this Court, Apotex intends to, and will, actively induce

 infringement of the ’438 patent when the Apotex ANDA is approved, and intends to, and will do

 so, immediately and imminently upon approval.

        394.    Apotex knows that Apotex’s ANDA Product and its proposed labeling are

 especially made or adapted for use in infringing the ’438 patent, and that Apotex’s ANDA

 Product and its proposed labeling are not suitable for substantial noninfringing use. Unless

 enjoined by this Court, Apotex intends to, and will, contribute to the infringement of the ’438

 patent immediately and imminently upon approval of the Apotex ANDA.

        395.    The foregoing actions by Apotex prior to the expiration of the ’438 patent

 constitute and/or will constitute infringement, active inducement of infringement, and/or

 contribution to the infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        396.    Apotex had knowledge of the ’438 patent and is knowingly and willfully

 infringing the ’438 patent.

        397.    Apotex acted without a reasonable basis for believing that it would not be liable

 for infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or

 contributing to the infringement by others of the ’438 patent.

        398.     Unless Apotex is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

        399.    Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Apotex’s ANDA

 No. 208453 be a date which is not earlier than the date on which the ’438 patent expire or any

 later expiration of exclusivity to which Janssen is or becomes entitled.

        400.    This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


   COUNT V: INFRINGEMENT OF THE ’438 PATENT BY CITRON PHARMA

        401.    Janssen incorporates the preceding paragraphs as if fully set forth herein.

        402.    The use of Citron Pharma’s ANDA Product is covered by one or more claims of

 the ’438 patent.

        403.    The submission of Citron Pharma’s ANDA No. 208371 with a Paragraph IV

 certification regarding the ‘438 patent for the purpose of obtaining approval to engage in the

 commercial manufacture, use, offer for sale, and/or sale of Citron Pharma’s ANDA Product

 before the expiration of the ’438 patent constitutes infringement of one or more of the claims of

 the ’438 patent under 35 U.S.C. § 271(e)(2).

        404.    The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Citron Pharma’s ANDA Product before the expiration of the ‘438 patent

 would infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

        405.    The use of Citron Pharma’s ANDA Product in accordance with and as directed by

 Citron Pharma’s proposed labeling for that product before the expiration of the ‘438 patent

 would infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.




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        406.    Unless enjoined by this Court, Citron Pharma intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Citron

 Pharma’s ANDA Product immediately and imminently upon approval of the Citron Pharma

 ANDA.

        407.    Unless enjoined by this Court, Citron Pharma intends to, and will, actively induce

 infringement of the ’438 patent when the Citron Pharma ANDA is approved, and intends to, and

 will, do so immediately and imminently upon approval.

        408.    Citron Pharma knows that Citron Pharma’s ANDA Product and its proposed

 labeling are especially made or adapted for use in infringing the ’438 patent, and that Citron

 Pharma’s ANDA Product and its proposed labeling are not suitable for substantial noninfringing

 use. Unless enjoined by this Court, Citron Pharma intends to, and will, contribute to the

 infringement of the ’438 patent immediately and imminently upon approval of the Citron Pharma

 ANDA.

        409.    The foregoing actions by Citron Pharma prior to the expiration of the ’438 patent

 constitute and/or will constitute infringement, active inducement of infringement, and/or

 contribution to the infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        410.    Citron Pharma had knowledge of the ’438 patent and is knowingly and willfully

 infringing the ’438 patent.

        411.    Citron Pharma acted without a reasonable basis for believing that it would not be

 liable for infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or

 contributing to the infringement by others of the ’438 patent.

        412.     Unless Citron Pharma is enjoined from infringing the ’438 patent, actively

 inducing infringement of the ’438 patent, and/or contributing to the infringement of the ’438




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 patent, Janssen will suffer irreparable injury for which Janssen has no an adequate remedy at

 law. Pursuant to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary

 and permanent injunction should be entered preventing further infringement.

           413.   Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Citron Pharma’s

 ANDA No. 208371 to be a date which is not earlier than the date on which the ’438 patent

 expires or any later expiration of exclusivity to which Janssen is or becomes entitled.

           414.   This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


             COUNT VI: INFRINGEMENT OF THE ’438 PATENT BY DRL

           415.   Janssen incorporates the preceding paragraphs as if fully set forth herein.

           416.   The use of DRL’s ANDA Product is covered by one or more claims of the ’438

 patent.

           417.   The submission of DRL’s ANDA No. 208416 with a Paragraph IV certification

 regarding the ‘438 patent for the purpose of obtaining approval to engage in the commercial

 manufacture, use, offer for sale, and/or sale of DRL’s ANDA Product before the expiration of

 the ’438 patent constitutes infringement of one or more of the claims of the ’438 patent under 35

 U.S.C. § 271(e)(2).

           418.   The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of DRL’s ANDA Product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

           419.   The use of DRL’s ANDA Product in accordance with and as directed by DRL’s

 proposed labeling for that product before the expiration of the ’438 patent would infringe one or

 more claims of the ’438 patent under 35 U.S.C. § 271.



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        420.    Unless enjoined by this Court, DRL intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of DRL’s

 ANDA Product immediately and imminently upon approval of the DRL ANDA.

        421.    Unless enjoined by this Court, DRL intends to, and will, actively induce

 infringement of the ’438 patent when the DRL ANDA is approved, and intends to, and will, do

 so immediately and imminently upon approval.

        422.    DRL knows that DRL’s ANDA Product and its proposed labeling are especially

 made or adapted for use in infringing the ’438 patent, and that DRL’s ANDA Product and its

 proposed labeling are not suitable for substantial noninfringing use. Unless enjoined by this

 Court, DRL intends to, and will, contribute to the infringement of the ’438 patent immediately

 and imminently upon approval of the DRL ANDA.

        423.    The foregoing actions by DRL prior to the expiration of the ’438 patent constitute

 and/or will constitute infringement, active inducement of infringement, and/or contribution to the

 infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        424.    DRL had knowledge of the ’438 patent and is knowingly and willfully infringing

 the ’438 patent.

        425.    DRL acted without a reasonable basis for believing that it would not be liable for

 infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or contributing

 to the infringement by others of the ’438 patent.

        426.        Unless DRL is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

           427.   Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for DRL’s ANDA No.

 208416 to be a date which is not earlier than the date on which the ’438 patent expires or any

 later expiration of exclusivity to which Janssen is or becomes entitled.

           428.   This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


           COUNT VII: INFRINGEMENT OF THE ’438 PATENT BY MYLAN

           429.   Janssen incorporates the preceding paragraphs as if fully set forth herein.

           430.   The use of Mylan’s ANDA Product is covered by one or more claims of the ’438

 patent.

           431.   The submission of Mylan’s ANDA No. 208446 with a Paragraph IV certification

 regarding the ‘438 patent for the purpose of obtaining approval to engage in the commercial

 manufacture, use, offer for sale, and/or sale of Mylan’s ANDA Product before the expiration of

 the ’438 patent constitutes infringement of one or more of the claims of the ’438 patent under 35

 U.S.C. § 271(e)(2).

           432.   The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Mylan’s ANDA Product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

           433.   The use of Mylan’s ANDA Product in accordance with and as directed by

 Mylan’s proposed labeling for that product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.




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        434.    Unless enjoined by this Court, Mylan intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Mylan’s

 ANDA Product immediately and imminently upon approval of the Mylan ANDA.

        435.    Unless enjoined by this Court, Mylan intends to, and will, actively induce

 infringement of the ’438 patent when the Mylan ANDA is approved, and intends to, and will, do

 so immediately and imminently upon approval.

        436.    Mylan knows that Mylan’s ANDA Product and its proposed labeling are

 especially made or adapted for use in infringing the ’438 patent, and that Mylan’s ANDA

 Product and its proposed labeling are not suitable for substantial noninfringing use. Unless

 enjoined by this Court, Mylan intends to, and will, contribute to the infringement of the ’438

 patent immediately and imminently upon approval of the Mylan ANDA.

        437.    The foregoing actions by Mylan prior to the expiration of the ’438 patent

 constitute and/or will constitute infringement, active inducement of infringement, and/or

 contribution to the infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        438.    Mylan had knowledge of the ’438 patent and is knowingly and willfully

 infringing the ’438 patent.

        439.    Mylan acted without a reasonable basis for believing that it would not be liable

 for infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or

 contributing to the infringement by others of the ’438 patent.

        440.     Unless Mylan is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

           441.   Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Mylan’s ANDA

 No. 208446 to be a date which is not earlier than the date on which the ’438 patent expires or any

 later expiration of exclusivity to which Janssen is or becomes entitled.

           442.   This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


            COUNT VIII: INFRINGEMENT OF THE ’438 PATENT BY PAR

           443.   Janssen incorporates the preceding paragraphs as if fully set forth herein.

           444.   The use of Par’s ANDA Product is covered by one or more claims of the ’438

 patent.

           445.   The submission of Par’s ANDA No. 208168 with a Paragraph IV certification

 regarding the ‘438 patent for the purpose of obtaining approval to engage in the commercial

 manufacture, use, offer for sale, and/or sale of Par’s ANDA Product before the expiration of the

 ’438 patent constitutes infringement of one or more of the claims of the ’438 patent under 35

 U.S.C. § 271(e)(2).

           446.   The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Par’s ANDA Product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

           447.   The use of Par’s ANDA Product in accordance with and as directed by Par’s

 proposed labeling for that product before the expiration of the ’438 patent would infringe one or

 more claims of the ’438 patent under 35 U.S.C. § 271.




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        448.    Unless enjoined by this Court, Par intends to, and will, engage in the manufacture,

 use, offer for sale, sale, marketing, distributing, and/or importation of Par’s ANDA Product

 immediately and imminently upon approval of the Par ANDA.

        449.    Unless enjoined by this Court, Par intends to, and will, actively induce

 infringement of the ’438 patent when the Par ANDA is approved, and intends to, and will do so,

 immediately and imminently upon approval.

        450.    Par knows that Par’s ANDA Product and its proposed labeling are especially

 made or adapted for use in infringing the ’438 patent, and that Par’s ANDA Product and its

 proposed labeling are not suitable for substantial noninfringing use. Unless enjoined by this

 Court, Par intends to, and will, contribute to the infringement of the ’438 patent immediately and

 imminently upon approval of the Par ANDA.

        451.    The foregoing actions by Par prior to the expiration of the ’438 patent constitute

 and/or will constitute infringement, active inducement of infringement, and/or contribution to the

 infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        452.    Par had knowledge of the ’438 patent and is knowingly and willfully infringing

 the ’438 patent.

        453.    Par acted without a reasonable basis for believing that it would not be liable for

 infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or contributing

 to the infringement by others of the ’438 patent.

        454.        Unless Par is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

           455.   Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Par’s ANDA No.

 208168 to be a date which is not earlier than the date on which the ’438 patent expires or any

 later expiration of exclusivity to which Janssen is or becomes entitled.

           456.   This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


             COUNT IX: INFRINGEMENT OF THE ’438 PATENT BY SUN

           457.   Janssen incorporates the preceding paragraphs as if fully set forth herein.

           458.   The use of Sun’s ANDA Product is covered by one or more claims of the ’438

 patent.

           459.   The submission of Sun’s ANDA No. 208440 with a Paragraph IV certification

 regarding the ‘438 patent for the purpose of obtaining approval to engage in the commercial

 manufacture, use, offer for sale, and/or sale of Sun’s ANDA Product before the expiration of the

 ’438 patent constitutes infringement of one or more of the claims of the ’438 patent under 35

 U.S.C. § 271(e)(2).

           460.   The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Sun’s ANDA Product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

           461.   The use of Sun’s ANDA Product in accordance with and as directed by Sun’s

 proposed labeling for that product before the expiration of the ’438 patent would infringe one or

 more claims of the ’438 patent under 35 U.S.C. § 271.




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        462.    Unless enjoined by this Court, Sun intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Sun’s ANDA

 Product immediately and imminently upon approval of the Sun ANDA.

        463.    Unless enjoined by this Court, Sun intends to, and will, actively induce

 infringement of the ’438 patent when the Sun ANDA is approved, and intends to, and will, do so

 immediately and imminently upon approval.

        464.    Sun knows that Sun’s ANDA Product and its proposed labeling are especially

 made or adapted for use in infringing the ’438 patent, and that Sun’s ANDA Product and its

 proposed labeling are not suitable for substantial noninfringing use. Unless enjoined by this

 Court, Sun intends to, and will, contribute to the infringement of the ’438 patent immediately and

 imminently upon approval of the Sun ANDA.

        465.    The foregoing actions by Sun prior to the expiration of the ’438 patent constitute

 and/or will constitute infringement, active inducement of infringement, and/or contribution to the

 infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        466.    Sun had knowledge of the ’438 patent and is knowingly and willfully infringing

 the ’438 patent.

        467.    Sun acted without a reasonable basis for believing that it would not be liable for

 infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or contributing

 to the infringement by others of the ’438 patent.

        468.        Unless Sun is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

           469.   Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Sun’s ANDA No.

 208440 to be a date which is not earlier than the date on which the ’438 patent expires or any

 later expiration of exclusivity to which Janssen is or becomes entitled.

           470.   This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


             COUNT X: INFRINGEMENT OF THE ’438 PATENT BY TEVA

           471.   Janssen incorporates the preceding paragraphs as if fully set forth herein.

           472.   The use of Teva’s ANDA Product is covered by one or more claims of the ’438

 patent.

           473.   The submission of Teva’s ANDA No. 208432 with a Paragraph IV certification

 regarding the ‘438 patent for the purpose of obtaining approval to engage in the commercial

 manufacture, use, offer for sale, and/or sale of Teva’s ANDA Product before the expiration of

 the ’438 patent constitutes infringement of one or more of the claims of the ’438 patent under 35

 U.S.C. § 271(e)(2).

           474.   The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Teva’s ANDA Product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

           475.   The use of Teva’s ANDA Product in accordance with and as directed by Teva’s

 proposed labeling for that product before the expiration of the ’438 patent would infringe one or

 more claims of the ’438 patent under 35 U.S.C. § 271.




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        476.    Unless enjoined by this Court, Teva intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Teva’s

 ANDA Product immediately and imminently upon approval of the Teva ANDA.

        477.    Unless enjoined by this Court, Teva intends to, and will, actively induce

 infringement of the ’438 patent when the Teva ANDA is approved, and intends to, and will, do

 so immediately and imminently upon approval.

        478.    Teva knows that Teva’s ANDA Product and its proposed labeling are especially

 made or adapted for use in infringing the ’438 patent, and that Teva’s ANDA Product and its

 proposed labeling are not suitable for substantial noninfringing use. Unless enjoined by this

 Court, Teva intends to, and will, contribute to the infringement of the ’438 patent immediately

 and imminently upon approval of the Teva ANDA.

        479.    The foregoing actions by Teva prior to the expiration of the ’438 patent constitute

 and/or will constitute infringement, active inducement of infringement, and/or contribution to the

 infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        480.    Teva had knowledge of the ’438 patent and is knowingly and willfully infringing

 the ’438 patent.

        481.    Teva acted without a reasonable basis for believing that it would not be liable for

 infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or contributing

 to the infringement by others of the ’438 patent.

        482.        Unless Teva is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

        483.    Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Teva’s ANDA No.

 208432 to be a date which is not earlier than the date on which the ’438 patent expires or any

 later expiration of exclusivity to which Janssen is or becomes entitled.

        484.    This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


               COUNT XI: INFRINGEMENT OF THE ’438 PATENT BY
                            HIKMA/WEST-WARD

        485.    Janssen incorporates the preceding paragraphs as if fully set forth herein.

        486.    The use of Hikma/West-Ward’s ANDA Product is covered by one or more claims

 of the ’438 patent.

        487.    The submission of Hikma/West-Ward’s ANDA No. 208339 with a Paragraph IV

 certification regarding the ‘438 patent for the purpose of obtaining approval to engage in the

 commercial manufacture, use, offer for sale, and/or sale of Hikma/West-Ward’s ANDA Product

 before the expiration of the ’438 patent constitutes infringement of one or more of the claims of

 the ’438 patent under 35 U.S.C. § 271(e)(2).

        488.    The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Hikma/West-Ward’s ANDA Product before the expiration of the ’438

 patent would infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

        489.    The use of Hikma/West-Ward’s ANDA Product in accordance with and as

 directed by Hikma/West-Ward’s proposed labeling for that product before the expiration of the

 ’438 patent would infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.




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        490.    Unless enjoined by this Court, Hikma/West-Ward intends to, and will, engage in

 the manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of

 Hikma/West-Ward’s ANDA Product immediately and imminently upon approval of the

 Hikma/West-Ward ANDA.

        491.    Unless enjoined by this Court, Hikma/West-Ward intends to, and will, actively

 induce infringement of the ’438 patent when the Hikma/West-Ward ANDA is approved, and

 intends to, and will, do so immediately and imminently upon approval.

        492.    Hikma/West-Ward knows that Hikma/West-Ward’s ANDA Product and its

 proposed labeling are especially made or adapted for use in infringing the ’438 patent, and that

 Hikma/West-Ward’s ANDA Product and its proposed labeling are not suitable for substantial

 noninfringing use. Unless enjoined by this Court, Hikma/West-Ward intends to, and will,

 contribute to the infringement of the ’438 patent immediately and imminently upon approval of

 the Hikma/West-Ward ANDA.

        493.    The foregoing actions by Hikma/West-Ward prior to the expiration of the ’438

 patent constitute and/or will constitute infringement, active inducement of infringement, and/or

 contribution to the infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        494.    Hikma/West-Ward had knowledge of the ’438 patent and is knowingly and

 willfully infringing the ’438 patent.

        495.    Hikma/West-Ward acted without a reasonable basis for believing that it would not

 be liable for infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or

 contributing to the infringement by others of the ’438 patent.

        496.     Unless Hikma/West-Ward is enjoined from infringing the ’438 patent, actively

 inducing infringement of the ’438 patent, and/or contributing to the infringement of the ’438




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 patent, Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law.

 Pursuant to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and

 permanent injunction should be entered preventing further infringement.

        497.    Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Hikma/West-

 Ward’s ANDA No. 208339 to be a date which is not earlier than the date on which the ’438

 patent expires or any later expiration of exclusivity to which Janssen is or becomes entitled.

        498.    This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


    COUNT XII: INFRINGEMENT OF THE ’438 PATENT BY WOCKHARDT

        499.    Janssen incorporates the preceding paragraphs as if fully set forth herein.

        500.    The use of Wockhardt’s ANDA Product is covered by one or more claims of the

 ’438 patent.

        501.    The submission of Wockhardt’s ANDA No. 208380 with a Paragraph IV

 certification regarding the ‘438 patent for the purpose of obtaining approval to engage in the

 commercial manufacture, use, offer for sale, and/or sale of Wockhardt’s ANDA Product before

 the expiration of the ’438 patent constitutes infringement of one or more of the claims of the

 ’438 patent under 35 U.S.C. § 271(e)(2).

        502.    The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Wockhardt’s ANDA Product before the expiration of the ’438 patent

 would infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

        503.    The use of Wockhardt’s ANDA Product in accordance with and as directed by

 Wockhardt’s proposed labeling for that product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.



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        504.    Unless enjoined by this Court, Wockhardt intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Wockhardt’s

 ANDA Product immediately and imminently upon approval of the Wockhardt ANDA.

        505.    Unless enjoined by this Court, Wockhardt intends to, and will, actively induce

 infringement of the ’438 patent when the Wockhardt ANDA is approved, and intends to, and

 will, do so immediately and imminently upon approval.

        506.    Wockhardt knows that Wockhardt’s ANDA Product and its proposed labeling are

 especially made or adapted for use in infringing the ’438 patent, and that Wockhardt’s ANDA

 Product and its proposed labeling are not suitable for substantial noninfringing use. Unless

 enjoined by this Court, Wockhardt intends to, and will, contribute to the infringement of the ’438

 patent immediately and imminently upon approval of the Wockhardt ANDA.

        507.    The foregoing actions by Wockhardt prior to the expiration of the ’438 patent

 constitute and/or will constitute infringement, active inducement of infringement, and/or

 contribution to the infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        508.    Wockhardt had knowledge of the ’438 patent and is knowingly and willfully

 infringing the ’438 patent.

        509.    Wockhardt acted without a reasonable basis for believing that it would not be

 liable for infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or

 contributing to the infringement by others of the ’438 patent.

        510.     Unless Wockhardt is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law. Pursuant




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 to 35 U.S.C. § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., a preliminary and permanent

 injunction should be entered preventing further infringement.

           511.   Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Wockhardt’s

 ANDA No. 208380 to be a date which is not earlier than the date on which the ’438 patent expire

 or any later expiration of exclusivity to which Janssen is or becomes entitled.

           512.   This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


       COUNT XIII: INFRINGEMENT OF THE ’438 PATENT BY HETERO

           513.   Janssen incorporates the preceding paragraphs as if fully set forth herein.

           514.   The use of Hetero’s ANDA Product is covered by one or more claims of the ’438

 patent.

           515.   The submission of Hetero’s ANDA No. 208349 with a Paragraph IV certification

 regarding the ’438 patent for the purpose of obtaining approval to engage in the commercial

 manufacture, use, offer for sale, and/or sale of Hetero’s ANDA Product before the expiration of

 the ’438 patent constitutes infringement of one or more of the claims of the ’438 patent under 35

 U.S.C. § 271(e)(2).

           516.   The commercial manufacture, use, offer for sale, sale, marketing, distributing,

 and/or importation of Hetero’s ANDA Product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.

           517.   The use of Hetero’s ANDA Product in accordance with and as directed by

 Hetero’s proposed labeling for that product before the expiration of the ’438 patent would

 infringe one or more claims of the ’438 patent under 35 U.S.C. § 271.




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        518.    Unless enjoined by this Court, Hetero intends to, and will, engage in the

 manufacture, use, offer for sale, sale, marketing, distributing, and/or importation of Hetero’s

 ANDA Product immediately and imminently upon approval of the Hetero ANDA.

        519.    Unless enjoined by this Court, Hetero intends to, and will, actively induce

 infringement of the ’438 patent when the Hetero ANDA is approved, and intends to, and will, do

 so immediately and imminently upon approval.

        520.    Hetero knows that Hetero’s ANDA Product and its proposed labeling are

 especially made or adapted for use in infringing the ’438 patent, and that Hetero’s ANDA

 Product and its proposed labeling are not suitable for substantial noninfringing use. Unless

 enjoined by this Court, Hetero intends to, and will, contribute to the infringement of the ’438

 patent immediately and imminently upon approval of the Hetero ANDA.

        521.    The foregoing actions by Hetero prior to the expiration of the ’438 patent

 constitute and/or will constitute infringement, active inducement of infringement, and/or

 contribution to the infringement by others under 35 U.S.C. §§ 271(a), (b) and/or (c).

        522.    Hetero had knowledge of the ’438 patent and is knowingly and willfully

 infringing the ’438 patent.

        523.    Hetero acted without a reasonable basis for believing that it would not be liable

 for infringing the ’438 patent, actively inducing infringement of the ’438 patent, and/or

 contributing to the infringement by others of the ’438 patent.

        524.     Unless Hetero is enjoined from infringing the ’438 patent, actively inducing

 infringement of the ’438 patent, and/or contributing to the infringement of the ’438 patent,

 Janssen will suffer irreparable injury for which Janssen has no adequate remedy at law. Pursuant

 to 35 U.S.C. §§ 271(e)(4)(B) and 283, as well as Rule 65 of the Federal Rules of Civil




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 Procedure, a preliminary and permanent injunction should be entered preventing further

 infringement.

        525.     Janssen is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including, inter

 alia, an order of this Court that the FDA set the effective date of approval for Hetero’s ANDA

 No. 208349 to be a date which is not earlier than the date on which the ’438 patent expires or any

 later expiration of exclusivity to which Janssen is or becomes entitled.

        526.     This case is “exceptional,” as that term is used in 35 U.S.C. § 285.


                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs request the following relief:

        A.       Judgment in favor of Plaintiffs and against Defendants.

        B.       Judgment that the ’213 patent is valid and enforceable;

        C.       Judgment that the ’438 patent is valid and enforceable;

        D.       As Against Actavis:

                 (1)    Judgment that Actavis has infringed, literally or by the doctrine of

 equivalents, the ’213 patent by the submission of ANDA No. 208274, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Actavis’s ANDA

 Product, in the United States, will constitute infringement, contributory infringement, and

 actively inducing infringement of the ’213 patent;

                 (2)    Judgment that Actavis has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208274, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Actavis’s ANDA

 Product, in the United States, will constitute infringement, contributory infringement, and

 actively inducing infringement of the ’438 patent;



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                (3)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Actavis’s ANDA No. 208274 shall be no earlier than the date of expiration

 of the last expiring ’213 and ’438 patents and any additional periods of exclusivity to which

 Plaintiffs are or become entitled;

                (4)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 § 271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Actavis, its officers, partners,

 agents, servants, employees, parents, subsidiaries, divisions, affiliate corporations, other related

 business entities and all other persons acting in concert, participation, or privity with it, and their

 successors and assigns, from making, using, selling, offering to sell, marketing, distributing, or

 importing into the United States Actavis’s ANDA Product and the active ingredient described in

 Actavis’s ANDA No. 208274, and any product that is similar to or only colorably different from

 those products, and from infringing, contributorily infringing, or inducing others to infringe the

 ’213 patent, before the expiration of the ’213 patent and any additional periods of exclusivity;

                (5)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Actavis, its officers, partners,

 agents, servants, employees, parents, subsidiaries, affiliate corporations, other business entities

 and all other persons acting in concert, participation or privity with it, their successors and

 assigns, from making, using, selling, offering to sell, marketing, distributing, or importing into

 the United States Actavis’s ANDA Product and any product that is similar to or only colorably

 different from those products, and from infringing, contributorily infringing, or inducing others

 to infringe the ’438 patent, before the expiration of the ’438 patent and any additional periods of

 exclusivity;




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                (6)    Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Actavis engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of Actavis’s ANDA Product, or any product or compound

 that infringes the ’213 and ’438 patents, or in inducement or contribution of the ’213 and ’438

 patents, before the expiration of the ’213 and ’438 patents and any additional periods of

 exclusivity;

                (7)    A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                (8)    Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                (9)    Such further and other relief as this Court may deem just and proper.

         E.     As Against Amneal:

                (1)    Judgment that Amneal has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208327, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Amneal’s ANDA

 Product, in the United States, will constitute infringement, contributory infringement, and

 actively inducing infringement of the ’438 patent;

                (2)    Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Amneal’s ANDA No. 208327 shall be no earlier than the date of expiration

 of the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or become

 entitled;

                (3)    A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Amneal, its officers, partners,




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 agents, servants, employees, parents, subsidiaries, divisions, affiliate corporations, other related

 business entities and all other persons acting in concert, participation, or privity with it, and their

 successors and assigns, from making, using, selling, offering to sell, marketing, distributing, or

 importing into the United States Amneal’s ANDA Product and the active ingredient described in

 Amneal’s ANDA No. 208327, and any product that is similar to or only colorably different from

 those products, and from infringing, contributorily infringing, or inducing others to infringe the

 ’438 patent, before the expiration of the ’438 patent and any additional periods of exclusivity;

                (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Amneal engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of Amneal’s ANDA Product, or any product or

 compound that infringes the ’438 patent, or in inducement or contribution of the ’438 patent,

 before the expiration of the ’438 patent and any additional periods of exclusivity;

                (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                (7)     Such further and other relief as this Court may deem just and proper.

        F.      As Against Apotex:

                (1)     Judgment that Apotex has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208453, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Apotex’s ANDA

 Product, in the United States, will constitute infringement, contributory infringement, and

 actively inducing infringement of the ’438 patent;




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                (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Apotex’s ANDA No. 208453 shall be no earlier than the date of expiration

 of the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or become

 entitled;

                (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Apotex, its officers, partners,

 agents, servants, employees, parents, subsidiaries, divisions, affiliate corporations, other related

 business entities and all other persons acting in concert, participation, or privity with it, and their

 successors and assigns, from making, using, selling, offering to sell, marketing, distributing, or

 importing into the United States Apotex’s ANDA Product and the active ingredient described in

 Apotex’s ANDA No. 208453, and any product that is similar to or only colorably different from

 those products, and from infringing, contributorily infringing, or inducing others to infringe the

 ’438 patent, before the expiration of the ’438 patent and any additional periods of exclusivity;

                (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Apotex engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of Apotex’s ANDA Product, or any product or compound

 that infringes the ’438 patent, or in inducement or contribution of the ’438 patent, before the

 expiration of the ’438 patent and any additional periods of exclusivity;

                (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                (7)     Such further and other relief as this Court may deem just and proper.




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         G.      As Against Citron Pharma:

                 (1)     Judgment that Citron Pharma has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208371, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Citron Pharma’s

 ANDA Product, in the United States, will constitute infringement, contributory infringement,

 and actively inducing infringement of the ’438 patent;

                 (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Citron Pharma’s ANDA No. 208371 shall be no earlier than the date of

 expiration of the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or

 become entitled;

                 (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Citron Pharma, its officers,

 partners, agents, servants, employees, parents, subsidiaries, divisions, affiliate corporations, other

 related business entities and all other persons acting in concert, participation, or privity with it,

 and their successors and assigns, from making, using, selling, offering to sell, marketing,

 distributing, or importing into the United States Citron Pharma’s ANDA Product and the active

 ingredient described in Citron Pharma’s ANDA No. 208371, and any product that is similar to or

 only colorably different from those products, and from infringing, contributorily infringing, or

 inducing others to infringe the ’438 patent, before the expiration of the ’438 patent and any

 additional periods of exclusivity;

                 (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Citron Pharma engages in the commercial manufacture, use, sale, offer to

 sell, marketing, distribution, or importation of Citron Pharma’s ANDA Product, or any product




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 or compound that infringes the ’438 patent, or in inducement or contribution of the ’438 patent,

 before the expiration of the ’438 patent and any additional periods of exclusivity;

                 (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                 (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                 (7)     Such further and other relief as this Court may deem just and proper.

         H.      As Against DRL:

                 (1)     Judgment that DRL has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208416, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of DRL’s ANDA

 Product, in the United States, will constitute infringement, contributory infringement, and

 actively inducing infringement of the ’438 patent;

                 (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of DRL’s ANDA No. 208416 shall be no earlier than the date of expiration of

 the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or become

 entitled;

                 (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining DRL, its officers, partners, agents,

 servants, employees, parents, subsidiaries, divisions, affiliate corporations, other related business

 entities and all other persons acting in concert, participation, or privity with it, and their

 successors and assigns, from making, using, selling, offering to sell, marketing, distributing, or

 importing into the United States DRL’s ANDA Product and the active ingredient described in




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 DRL’s ANDA No. 208416, and any product that is similar to or only colorably different from

 those products, and from infringing, contributorily infringing, or inducing others to infringe the

 ’438 patent, before the expiration of the ’438 patent and any additional periods of exclusivity;

                (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if DRL engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of DRL’s ANDA Product, or any product or compound

 that infringes the ’438 patent, or in inducement or contribution of the ’438 patent, before the

 expiration of the ’438 patent and any additional periods of exclusivity;

                (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                (7)     Such further and other relief as this Court may deem just and proper.

         I.     As Against Mylan:

                (1)     Judgment that Mylan has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208446, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Mylan’s ANDA

 Product, in the United States, will constitute infringement, contributory infringement, and

 actively inducing infringement of the ’438 patent;

                (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Mylan’s ANDA No. 208446 shall be no earlier than the date of expiration

 of the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or become

 entitled;




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                (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Mylan, its officers, partners,

 agents, servants, employees, parents, subsidiaries, divisions, affiliate corporations, other related

 business entities and all other persons acting in concert, participation, or privity with it, and their

 successors and assigns, from making, using, selling, offering to sell, marketing, distributing, or

 importing into the United States Mylan’s ANDA Product and the active ingredient described in

 Mylan’s ANDA No. 208446, and any product that is similar to or only colorably different from

 those products, and from infringing, contributorily infringing, or inducing others to infringe the

 ’438 patent, before the expiration of the ’438 patent and any additional periods of exclusivity;

                (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Mylan engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of Mylan’s ANDA Product, or any product or compound

 that infringes the ’438 patent, or in inducement or contribution of the ’438 patent, before the

 expiration of the ’438 patent and any additional periods of exclusivity;

                (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                (7)     Such further and other relief as this Court may deem just and proper.

        J.      As Against Par:

                (1)     Judgment that Par has infringed, literally or by the doctrine of equivalents,

 the ’438 patent by the submission of ANDA No. 208168, and that the commercial manufacture,

 use, sale, offer for sale, marketing, distribution, or importation of Par’s ANDA Product, in the




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 United States, will constitute infringement, contributory infringement, and actively inducing

 infringement of the ’438 patent;

                 (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Par’s ANDA No. 208168 shall be no earlier than the date of expiration of

 the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or become

 entitled;

                 (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Par, its officers, partners, agents,

 servants, employees, parents, subsidiaries, divisions, affiliate corporations, other related business

 entities and all other persons acting in concert, participation, or privity with it, and their

 successors and assigns, from making, using, selling, offering to sell, marketing, distributing, or

 importing into the United States Par’s ANDA Product and the active ingredient described in

 Par’s ANDA No. 208168, and any product that is similar to or only colorably different from

 those products, and from infringing, contributorily infringing, or inducing others to infringe the

 ’438 patent, before the expiration of the ’438 patent and any additional periods of exclusivity;

                 (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Par engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of Par’s ANDA Product, or any product or compound that

 infringes the ’438 patent, or in inducement or contribution of the ’438 patent, before the

 expiration of the ’438 patent and any additional periods of exclusivity;

                 (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;




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                 (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                 (7)     Such further and other relief as this Court may deem just and proper.

         K.      As Against Sun:

                 (1)     Judgment that Sun has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208440, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Sun’s ANDA

 Product, in the United States, will constitute infringement, contributory infringement, and

 actively inducing infringement of the ’438 patent;

                 (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Sun’s ANDA No. 208440 shall be no earlier than the date of expiration of

 the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or become

 entitled;

                 (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Sun, its officers, partners, agents,

 servants, employees, parents, subsidiaries, divisions, affiliate corporations, other related business

 entities and all other persons acting in concert, participation, or privity with it, and their

 successors and assigns, from making, using, selling, offering to sell, marketing, distributing, or

 importing into the United States Sun’s ANDA Product and the active ingredient described in

 Sun’s ANDA No. 208440, and any product that is similar to or only colorably different from

 those products, and from infringing, contributorily infringing, or inducing others to infringe the

 ’438 patent, before the expiration of the ’438 patent and any additional periods of exclusivity;




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                (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Sun engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of Sun’s ANDA Product, or any product or compound

 that infringes the ’438 patent, or in inducement or contribution of the ’438 patent, before the

 expiration of the ’438 patent and any additional periods of exclusivity;

                (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                (7)     Such further and other relief as this Court may deem just and proper.

         L.     As Against Teva:

                (1)     Judgment that Teva has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208432, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Teva’s ANDA

 Product, in the United States, will constitute infringement, contributory infringement, and

 actively inducing infringement of the ’438 patent;

                (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Teva’s ANDA No. 208432 shall be no earlier than the date of expiration of

 the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or become

 entitled;

                (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Teva, its officers, partners, agents,

 servants, employees, parents, subsidiaries, divisions, affiliate corporations, other related business




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 entities and all other persons acting in concert, participation, or privity with it, and their

 successors and assigns, from making, using, selling, offering to sell, marketing, distributing, or

 importing into the United States Teva’s ANDA Product and the active ingredient described in

 Teva’s ANDA No. 208432, and any product that is similar to or only colorably different from

 those products, and from infringing, contributorily infringing, or inducing others to infringe the

 ’438 patent, before the expiration of the ’438 patent and any additional periods of exclusivity;

                 (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Teva engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of Teva’s ANDA Product, or any product or compound

 that infringes the ’438 patent, or in inducement or contribution of the ’438 patent, before the

 expiration of the ’438 patent and any additional periods of exclusivity;

                 (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                 (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                 (7)     Such further and other relief as this Court may deem just and proper.

         M.      As Against Hikma/West-Ward:

                 (1)     Judgment that Hikma/West-Ward has infringed, literally or by the doctrine

 of equivalents, the ’438 patent by the submission of ANDA No. 208339, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Hikma/West-

 Ward’s ANDA Product, in the United States, will constitute infringement, contributory

 infringement, and actively inducing infringement of the ’438 patent;




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                 (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Hikma/West-Ward’s ANDA No. 208339 shall be no earlier than the date

 of expiration of the ’438 patent and any additional periods of exclusivity to which Plaintiffs are

 or become entitled;

                 (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Hikma/West-Ward, its officers,

 partners, agents, servants, employees, parents, subsidiaries, divisions, affiliate corporations, other

 related business entities and all other persons acting in concert, participation, or privity with it,

 and their successors and assigns, from making, using, selling, offering to sell, marketing,

 distributing, or importing into the United States Hikma/West-Ward’s ANDA Product and the

 active ingredient described in Hikma/West-Ward’s ANDA No. 208339, and any product that is

 similar to or only colorably different from those products, and from infringing, contributorily

 infringing, or inducing others to infringe the ’438 patent, before the expiration of the ’438 patent

 and any additional periods of exclusivity;

                 (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Hikma/West-Ward engages in the commercial manufacture, use, sale, offer

 to sell, marketing, distribution, or importation of Hikma/West-Ward’s ANDA Product, or any

 product or compound that infringes the ’438 patent, or in inducement or contribution of the ’438

 patent, before the expiration of the ’438 patent and any additional periods of exclusivity;

                 (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                 (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and




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                (7)     Such further and other relief as this Court may deem just and proper.

        N.      As Against Wockhardt:

                (1)     Judgment that Wockhardt has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208380, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Wockhardt’s

 ANDA Product, in the United States, will constitute infringement, contributory infringement,

 and actively inducing infringement of the ’438 patent;

                (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Wockhardt’s ANDA No. 208380 shall be no earlier than the date of

 expiration of the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or

 become entitled;

                (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C.

 §271(e)(4)(B) and 283 and Rule 65, Fed. R. Civ. P., enjoining Wockhardt, its officers, partners,

 agents, servants, employees, parents, subsidiaries, divisions, affiliate corporations, other related

 business entities and all other persons acting in concert, participation, or privity with it, and their

 successors and assigns, from making, using, selling, offering to sell, marketing, distributing, or

 importing into the United States Wockhardt’s ANDA Product and the active ingredient described

 in Wockhardt’s ANDA No. 208380, and any product that is similar to or only colorably different

 from those products, and from infringing, contributorily infringing, or inducing others to infringe

 the ’438 patent, before the expiration of the ’438 patent and any additional periods of exclusivity;

                (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Wockhardt engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of Wockhardt’s ANDA Product, or any product or




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 compound that infringes the ’438 patent, or in inducement or contribution of the ’438 patent,

 before the expiration of the ’438 patent and any additional periods of exclusivity;

                (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                (7)     Such further and other relief as this Court may deem just and proper.

         O.     As Against Hetero:

                (1)     Judgment that Hetero has infringed, literally or by the doctrine of

 equivalents, the ’438 patent by the submission of ANDA No. 208349, and that the commercial

 manufacture, use, sale, offer for sale, marketing, distribution, or importation of Hetero’s ANDA

 Product, in the United States, will constitute infringement, contributory infringement, and

 actively inducing infringement of the ’438 patent;

                (2)     Judgment, pursuant to 35 U.S.C. §271(e)(4)(A), that the effective date of

 any FDA approval of Hetero’s ANDA No. 208349 shall be no earlier than the date of expiration

 of the ’438 patent and any additional periods of exclusivity to which Plaintiffs are or become

 entitled;

                (3)     A preliminary and permanent injunction, pursuant to 35 U.S.C. §§

 271(e)(4)(B) and 283, as well as Rule 65 of the Federal Rules of Civil Procedure, enjoining

 Hetero, its officers, partners, agents, servants, employees, parents, subsidiaries, divisions,

 affiliate corporations, other related business entities and all other persons acting in concert,

 participation, or privity with it, and their successors and assigns, from making, using, selling,

 offering to sell, marketing, distributing, or importing into the United States Hetero’s ANDA




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 Product and the active ingredient described in Hetero’s ANDA No. 208349, and any product that

 is similar to or only colorably different from those products, and from infringing, contributorily

 infringing, or inducing others to infringe the ’438 patent, before the expiration of the ’438 patent

 and any additional periods of exclusivity;

                (4)     Damages or other monetary relief, including prejudgment and post-

 judgment interest, if Hetero engages in the commercial manufacture, use, sale, offer to sell,

 marketing, distribution, or importation of Hetero’s ANDA Product, or any product or compound

 that infringes the ’438 patent, or in inducement or contribution of the ’438 patent, before the

 expiration of the ’438 patent and any additional periods of exclusivity;

                (5)     A declaration that this is an exceptional case and an award of reasonable

 attorneys’ fees and expenses to Plaintiffs pursuant to 35 U.S.C. §§ 271(e)(4) and 285;

                (6)     Plaintiffs’ reasonable costs of suit incurred in bringing and prosecuting

 this action; and

                (7)     Such further and other relief as this Court may deem just and proper.




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